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§ Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 2 of 109

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33 . -»»- J,,.».

Page 112

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 4 of 109

C.Wll_ C.OURT DF THE' CITY UF NEW YORK .
CL"JUNTY UF BRONX 'rNDE}{ }\IO. 43720!1 l
--. ...... _h_,__ _ _x- FILE NU. 133 l 7

2246 WEBSTER AV ENUE, I-»`IDFQ

mnmsn: nFFanvrr_
Q~!_S UPP(`JR”I
- against -

1.`1_]2:’\.[3]§"|`1-§ A'I_.lBlZU AC`E\"I';` l_`)(')~
Def`t':‘nd:ml.

.................................................................. x
E:`='l`A'l".i`j 017 NEW YO`RK }

) 555
COUN"!`Y OF BR.ONX )

l, }nn`rne Losey, being duly sworn deposes and snys:
I. 5 nm the managing agent t`or the l’lninlift`, 2246 WEBS'[`.ER AV ENU E. HD F{`I

noreiu, and ns such I nm fully i"`nmiliar with tho l’z\v.:ls and circumstances Ot` this prc!)o¢oding_

l Ths within proceedings was commenced against D+:fendnnt bo recover rental

:n':'\::n‘s in the amount of$3,993.91, doe and owing b_\= Dol.`endnnt lo Plnintiff".

J. Therosl"tcr, st n ln'E-.-lrio| conference oflhis matter on lonnan 3. 2012T by wn_v ot` n
b§o-Ordcred Stipulation, the Pnrtios hereto settled this matter in the sum of" $2~{}00_(}{} m th.;» mw
¢."‘3:‘.-0_00 per month until that sum had been paid in i"ull,

4. Also per the terms of:`l.hnt Slipnlzltion of`Sel.Llemonl, Dt:f<:ndonl noreed mm in mg

wool she should default on that soltlcmcot, Plninlif`f was omitted to _indgmonl. in the |.`n]l amount

L." §`..‘>ol;'ndam’s nn'eors bnlnnoe, $3._993.91, less any amount psid, with interest thereon mm july

l,znos
5. Also per that Stipolslion ol“Ssnh.=-ment, upon Dci`c:ndnnt`s dol`aniL Plnim.ii`l` was in

5 ;. .E-\'.-.\ co ]Jet`¢:ndm\t with o notion ofd¢:f:zult and lU-day opportunity to core sold de{m;u_

Pago 114

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 5 of 109

., w-MM-ww<n-sx,.w....,.m __________ l n

' ' ‘ ' leelecl $2{.`10.00.
6' Thm pursuant to the l’arties‘ slipnlahon, Planmf’l col
' ' st three occaslons.
?'. That Del`endant defaulted en that stipulation on at lea 1 l l
` ' tl e month ol . n y.
8. 'l“hereafier, upon Dei`enoant`s l`ailore to core her default Eor 1

1 -¢.

‘ *' ed
` ‘ - uccessl`ully colleel
9' T`U€reat`ler, l’lainiill` commenced exeeohon measures and s

$EJH-l .tll toward the satisfaction ol`tlialjoc.l_gmem,

 

' ' ‘ lrind interest
10‘ Tl\erefone, Dei"endanl o e $2,309.10 plus costs1 fees, dlsl:ursernents ¢

   

from _loly l, 2006 10 .Plainliff-\owmw:l the 5a 1 "lf:tion ol`{lae defaulted stlpol.anon_

‘ » ssi
"WE'% Y\b”'i` M%Q\,\ selling l\\l ($l L(U;/L d

Wl-`IEREFORE, your deponent prays that the Coort' don;,r the instant motion as no legal or
equitable basis has been providecl.

Swom 1a before me this
26 day of`Fe`oruary 2014

l`~lolary;élic

TARA .Ih GREKULAK
ND¥AR\‘ PUBLIC~STATE OF NEW ‘{ORK
No. mG'-R¢WW¢R
Quolltled ln westchester Counw
nw Comrnmlon Exolros Fobwuw 92.

 

F'Elge 115

Case_ 1:16-cv-021§21-1AL'(: Do'cu"ment'SG-sa Filed 03/18/17 Page 6 of 109

 

Page 116

 

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 7 of 109

CWIL COURT OF T`HE CI'T'T' OF N`E.W YORK

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.............................................. x GqBTEU ll

2246 Webster A.\'ent.te, HDFC,

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Plaintil"t`, WDEX N

mg No. iaatt.a

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`UMMONS _ _
fi:'lat:e ofVenuc is Plalotifi"s

place ofbusiness:

Eltzabeth Aht>izl.t Ac¢vedo. _ l 2246 Wehsm Atr¢noc

Brons, NY 10457
Defendantts)

 

To the above named oet`cnttamstsi:

‘i’DLl ARE Hl-`.REBY SWMDNED co appear at the C§IVIL COUR.T OF ’I`HE CIT'Y' CtF
NEW YCJRK. CGU`!\}'I"\" DF BRON`X. at the office of the clerk of the said Court at 351 Grand
Coneo\lrsc, Bt“onx. NY 10451` in the C{}U`NTY UF BRONX, Siate of'New Yot'k. Within tim
time provided by law as noted below and to tile an answer to the below complaint with
clerk: upon your failure co snswer, judgment will be taken against you for the s 093 9i
with interest thereon from lilly i, 2006 together with costs of this seti.on.

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FE B§':Qu’r'yi{avyj»l&li, sq.,

wl 1 4 mill Kat.'ulieli 6a .'\ssoeiates, li’.C1
g J cf Attcrney for Plaintifi`
CWFL `“" `
~E, 0

 
 
 
 

 

 

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i*ort Cbester, T‘»i`Y` 10573

914 353
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Elizahetb Alibizu .!'\cevcdo
till E. lti'i‘tb So'cct, Apt. ZZA
Bron)t, NY 10459-27?1

Nnic: T|:ie law provides that: {a) if the summons is served b ` ‘ _

within the City of Ncw ‘:'orlc, you must appear and answer ai;:;;;i'[;-i-:;;r§.:.;y“u pc“"°“a-UY
service; or {b`) lf the summons is served by any means other man person l flaw an cr such
within the City cf Ncw Yorlc, you must appear ana answer within '['HlRa dicth m :-“DLJ
service thereofis filed with the Cierit ot` this Ccurt_ Tv days anal PW°-r Cli`

Page 11?

Case 1:16-0\‘}¢02134-ALC Document 86-58 Filed 08/18/17 Page 8 of 109

(lOMPLAINT

FIRST .JLCTIC}N: Plaintir't`seeks to recover damages from oefeudent(e) rm _W;g;l::l'.l°i}']~)@:
agreement in the sum of SB_QQ}`Q] repl.eqemmg rental arrears for the monitth oh m n freed
balance of`$399.79; August` 2005 itu-nub h and including November, 120th at t aqu ux NY
morttltlysum of 339&53 for tlte-premisesgi:nown as 2246 Webster Avenue_. AP'-.:i z nixl _. and
104 57 together “'Nh COS"S HItt'| disbttrsenieots of this action and for such other end tmt et rt

as the court may deem jose `

m the defendant itt the suth oi`

SECUND AC`TION: ` ' " 1 . » ,
maan S“cks to recover damages fm o'r` this action otto for

$600.00 representing damages together with costs end disburscm€“tb`
such other end further relief rts the C.`ourt may deem jtlst.

IM-MF Pli\ilttin`$eoks to recover damages from the defendant irt the sum ot` `
$50'0-9@ representing l‘Eilsolleblc attorneys t"ees together with costs and dishm':;ett"iott:s ol` this
action end for such other further relief as the L"ourt may deem just.

WHEREFDRE, Plointit`f demands judgment (A} on the First Actiott, in the sum of 53,993.9£
plus interest from .luty t_. 2006 together with costs and diehm“ttt:mc“ts 01" this HETiOH and im

such other and further relief rts the Court may deem just, (B`) on the Seeooti Ptctiort. in the sum
of $600.[}0 plus interest t`rom Juty l. 2006 together with coors end disbursemente of this
action end for such other end further relief as thc Court may deemjust_. {C} ott the `l*hirti
Aotion, itt the sum of 350[}.00 together with costs mtd disbursements of this action end for
such other and further relief as the Court may deem just_

'l`he Plrt`trttif`t`in this action is NC|T required to be liCCltiitid by file NEW Yorl»'. City
Dopttrtment of Cortsttrrter At`fairs.

F'age 118

 

' e 1:16-`CV-02134-ALC "DOCum`e`th`-'S‘€-l .--

  

EXHIBIT 4

F-'age 119

 

Case 1:16-0_\/-021$4-ALC Docqment86-58 Filed 08/18/17 Page 10 of 109 _
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Cuumy u['Brcmx

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as follower f h U. l

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r'C`.':ee-i aff rha.r app-513 lam l

l G-.=.nera§ Deniai: 1 deny the allegations in thc complain
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but service wasn not correct as required by |ew.

1~_}

d_m_

3 ___hl received line Summcms and Cnmplaim._

4 ______1 du nat owe this deh1,

5 d_"l did 1101 incur Lhi:s debt. lam the viclim of idenljly thefl or mistaken iiien.iilj.¢'d

5 mi have paid 311 mr pan cil` the aiieged debt.

7 § l dispute the amount of the debt.

3 Piaintifi` is required fn be licensed by the department of consumer affairs Oi"ih¢ Cif¥ Of N¢W Y‘-'rk and

dues nch allege a license number in Lhe Compleini.

9 _ Stalnle of Limitatinns ( the time has passed 10 sue nn this debt more man six year.*;}.

10 _Th¢ dew has been discharged in bankmpw;.».

11 __ The collateral {property`} was not sold al a commercially reasonable priee.

12 aff Unjusl enrichment {tlie amount demanded is excessive compared wiih tire original debt.]

13 _ Viniation efthe duty of good faith end fair dealingl

14 mUnconscinnabilizy [tbe contract is eni"air.]

15 _“_ [_;:.ches (plainlifi` has excessively delayed in bringing Lhis lawsuil w my dismivamage.)

|6 m_ Def`endent is"m the military

|'F _“_ C}iher:

_“_ crime

1 3 "_'_ P}case take notice that my only Snuree uf income is .wliich is exeran from collection
C{}UI‘ITERCLAIM

19 C¢,umerelaim(s}:$ m_m_,,r R¢HSUH=

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Pul't Chesder_. NY 10573-
531 V l].. COU RT
BRDNK COUNTY

Page 120

CaSe lilG-CV-02134=ALC DOCUm€n'[ 86-58 Filed 08/18/17 Page 11 Of 109

 

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F‘age 121

 

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 12 of 109

l{avulieh dc Associatos, P.C.
131 Westr:hester A\'enuo
Suite 500€
Port Chester. NY 10573 _
Photte: {914) 355-2074 Fat*: ('5‘14]3:»5-2073

Apt‘il 9. 2012

E[izabetlt Ali|:tiztt Acevedo
311 E. lti?ttt Street

Aptt Er’t

l_:lroltx, NY 10459-2'}'71

Ro: Defaulted$tipulation
2246 chster Avettue. HDFC
File No.: 13317

Deor I:`,lizo|:totit Alibi:tu Acevedo:

You ore itt default oi'your_po),rrttent under the stipulation signed by you. Fleaso be
advised that ii't'he default is not etired within 10 days ot`t}te date ot`tlti'.~: Ietter, my client
will pursue all remedies available to it under law.

Kiltdly forward all remittances to us. payable to llte law firm oi`l£avulich dr Associates,
P.C‘ at IS| Wes.coltesler )‘-we.. Suite S{JUC\ Port Cltester. N`i" 105 ?3 Witlt your file
number on said paymottt. Thuttk you For your attention to this manor

    

Gory Krwu t- ,ESCI-

Tltis is on attempt to collect a debt. Any information obtained witt he used for thin
purpose. Tltis communication is from st debt collector

Pago 122

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 13 of 109

I{`ovulir:h & Assoeiotes, l`*.C.
131 Westchester Aveouo
Suite SUOC
Port Cl'tester, NY 10573
Phone: (914} 355-20?4 ]Fs.t': {914} 355-2073

june 12, 2012

Elizabetlt Alihizu Acevedo
311 E_ 167tlt Btreet

Apt. 2A

Bromt. NY 10459~"-*_?71

Re: Dofaultecl Stipulatiott
2246 Webster Avertue, HIJFC
Filt':l No.: 1381'?

Desr Elizabetlt Alibizu Aoevedo:

_ You are itt default of your payment under the stipulation signed by you_ Ploose he
odvtsed that i'l` the default is not cured within 10 days of the date of this lotter, toy client
Will pursue all remedies available to it under law.

Kindly forward all remittances to us, payable to the low firm ofKatmliolt dc Associtttes.
P.C, at 181 Wesro|:tester Ave., Suite 50{1[`3, Port Chest'er, NY J105 '!3 with your file
number on said payment Thault you for your attention to this matter

  
 
   

Very Tru!j' Y

my i<'.otrulictt, ES'Y!-

Thi§ is an attempt to collect a debt. Arty information obtained will he used for that
Purpose. Tttis communication is from a debt colt-acton

Pago 123

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 14 of 109

I{avulicli & Asseciates, P.C.
131 Westehester Avenue
Suite ’5£}£}\1z loan
I'ort Chester, N‘lt - -
th“": '[914) 355~2074 liax: (91¢$] 355»21}73

August 23, 20l2
Elizabeth Atibizu tit

C 1
311 E_ ]6'3‘\:}'1 Street' envth
Apt. IA
eri;t, N`Y 1.0459~27?'1

Re: Del`aultetl Stipu!ation
2245 Webster Aveuue. HIJF
stiei\'e.: taste ` C

Dear Eiizabeth .»tlibizu Acevedo:

_ d You ere in default ofyour payment under the stipulation tituan by YW' P{e‘“e be
advlsed that if the default is not cured within 10 days of the date of this letter, my diem
Will pursue ali remedies available to it under lew.

Kiridly forward ell remittances to us, payable to the law firm of Kevutieh 8c Assooietes.
P.C`. at IBI Vttestehester Ave., Buite .SUDC, Pott Chester, N\" 105?3 with your file
manuell on said payment Tltertk. you for your attention to this matter.

 
   

Vel'y Truly

This is an attempt to collect a debt. Any information obtained will be used for tim
purpose Tlt.is communication is from e debt colfeetor.

F‘ege 124

Cetse 1:16-cv-02134-ALC Docu_ment 86-58 Filed 08/18/17 Page 15 of 109

EX[-IIBIT 6

Page 125

 

W'i`.

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 16 of 109

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T"'° "°“‘°“'*"9 named name addressed me mooted as umw umw
Platinttl'l' crediting am sdwa

113 2245 Web\stut' Av\mt.te. HDFC
2245 Wousler Aves'u.m. Bronx. NY 10457-

St‘t.alt recover of the fu§owtng panteiz, addresses and ld¢htttlod es debtors botow:
Datendant debtcr(s} and address

{1} Eilztlbet.h Ntblzu Ace\)en:to

eti E. tenn street Aot. 2a emm, NY ito-459-

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me ij cry 01“?'~2¢~.9.' ‘r'urk fm the enforcement of said Judgmcnl be stayed
SERWCE of a copy of this O:dcr co Shuw Eausc, and annexed A,Hidavii, upon lhe:
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duties w lv'rr`»m usage w mean
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F’age 128

 

Case 1-:»;|=6~cv-02134-ALC Document 86-58 Filed 08/18/17 Page 19 of 109

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1. §§ A a) l am the Pnriy named as-(Respundenl) in the above titled aetion.

' ii , end
2. gpi a) l have been served wi'.lh 11 summons and rompiainr in this ae!inn- iNOTE~ ir S"W“ Cmms shop 3

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b} I have not been served and my lirs'c notice nflega| action was {NO I`E: iileH '-'D'“P|E"»‘ B"F °" ma
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11) Idiri net appear end answer in the Clerk‘s Oiiice bcnause:lNUTE`.: li you complete 15 311`$|11{1 and ge m HG!.

 

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‘L-“"‘§nd l received a date fur tl'iai_ }/5) 11
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4. ,_E;M)n the Dare rif Trinl before indgumrbilrainr

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.i\\f.nnm¢. 'P‘ir_$"' h "=~»*F'¢e -£-~'“v-i-£;-e::rci¢.;e.d;h:_s¢ rt ""D*"
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E. §§ id Irequesl. that the Judglueui be vaculed, that the case be restored iu lhe calenrin;'m-_
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51110¢1-110 before me lhis day January 18,2£113 ga umw “__F
(Sign NHmE-i y UJ‘J/i/.F"_r§ 31 ),.<{'f_é]j
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i,.-,v-|_\ 3 \r‘.,'-")i*' --11 le ii '51') '(:wri jr <b_».,r,.,}' 1 i i'~.‘i if 11`”) § k lloyqu i-’-`Ce': 11-?-‘£`»- '> ij
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Page 129 »-#“'“

 

 

 

 

C`ase 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 21 of 109

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EI.IEABEIH AL}IB}ZU ACEVEDO.
n Dcf¢nclant[s).
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PLEASE TAI{E NDTICE that upon the annexed Attomcj' AHimmtinn of AI.BE`R.TO
TDRRES, ESQ. dated Fcbmmy ':',21'.`.!13 Afff`idavit Df` EI_JZABETH AL[BIZU sworn to the '?zh
day of Febmar:,', 2913 and on all papers and proceedings heretofore had herein me
mdersigned will move this Cuurt at PART 34€, RU‘{)M 504 thereof to bc held m the
Counhousc locat£vd at 351 GR.AND CUNCOURSE, BRONH, NEW YURK, UN
FEBRUARY !1, 2013 AT 9: 30 A M ofrhac day or as soon thereafter as the parties or chen
emmst may be hazard for arm Ordm vacating 1119 terms md conditions of a .'.-'.Iipu]ation dated
January 3, 2012 and staying and vacating the axc¢:m`mu mud enforcement of a judgment dated
Sepwmber 2?, 2012 and for such other and further relief as 10 this ant is just and propel

PLEASE TAK]§ FURT.HER NOTICE, that this mosion is bisng noticed pursuant to
Rulc #406 of CZPL~R., if uppllcabie.

Dated: Bronx, New Ycuk l
512me T, 2013

A[.BERTO TOKRES, ESQ.
Amrney fur Re. spondent
629 Mclros:a Avc:n.uc

Bronx, Ne:w York 10455
Tcl.Nu. {“_718) 620-1}.105
FuxNo. (?13} 620-0107

 

'I`O: GAR.Y KAVULICH, ESQ.
Atlum=y for IJ*I'.\:i\')tif\c
K_AVULICH 3a ASSOCIATES, P.C.
13\ Wcsmhesler Avcmue, 51th SOUC
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Tez No. (914) 355-2074
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CaSe 1:16-CV-.O2134-ALC Document 86-58 Filed 08/18/17 Page 22 of 109
CIVIL CC%URT OF THE CIT"{ Ol‘ NEW YO!'~'.K

CDUNTY OF BRONX
._--1.,.-...--..+.--.1_.---._-_-_-'_1--___,.___,+“_-,1-_---.-j{
2246 WEBS'I'ER AVENUE. HDFC, index Ne. 48720~201 t
Plaimif‘f.
~a.ga‘mst-
AFF!RMATION OF
EMERGENCY

ElIZABETH ALI`BIZU ACEVEDO,

Dcfendant[s).

S'l'A'lH Ok-` NEW YOR£=L )
`) ss:
CDUNTY OI-‘ BRDI\D{ )

ALBERTO TOR.RES, nn attorney duly admitted to practice law before the Courts
of the Smte of New Yeric, pursuant se CPLR§ 2106, under penalties of perjurg.'_. affirms
515 fbl\DWS;

1. l am the attorney for ,`EI,IEABETH AI.IBEZU, Def`endant in the atmve-
captioned maher and as sueh lam fully familiar with the facts and eir-.mmsce.nees of this
case.

2. l respeeii`ully submit wis Aermatien in Suppo=rt of Dei`end mfg
appleman herein

3. That upon intermaticm end belicf, in er about Je.uua:‘y 2013, Defende_m
who wee not notified by her cmpio}fc:r then they were served with en become l`€xe\:ution
Netiee en a judgment dated September 27. 2012‘ realized ilml her employer bed started
gendshing Defendent'$ wagee.

4. 'I'hel Dej'endam xespeeu“ully files live ir‘.\$lanl application wherein she
states in her Af‘fir;ievit she had been paying $50.00 per monti-s pursuant m the .s‘:jpu}an'gn
fm a total ofSSUU+O\U, and that fm additional 39(}0.00 has been gamigh¢d from her WHBEE.

5, ‘I`hat nn F¢bmary e, 2013. I spoke to Defendant and reviewed various

documents, including the complaint {5¢:1: Exhi'bit G-)

Page 132

alma aware 55353::§101. marie emeee*aeu egan magna/59

Case 1:16-cv-02134-ALC-~~Beeerme1=\i-SG~58_FH€G 08/18/17 Page 23 of 109

6\ '.rhel Defeedaut then became await mac she wee sued for alleged rean

from Iu]y 2006 re November 2006, however, DEFBIWT 513[‘-’*1 and il"i?"*'i‘:i‘°-"d
documentary pwoi's chem her (1} lease expired on Aprii 35, 2906 (SEB E*-"hibi' D`), (3) 3116
paid reed dredge mr 2005 {see divide e}, end can moved into en apartment ‘~“'Ul 1116
New `York Ci'ry Housing Amhority (NYCHA) in Jlme 2006. (See Exhibit F)

7. Thar De fendam in her Anewei filed widi this conn stated rim she dispuled
the debt and the defense of miner enriei:rnem.

B. Thal thi$- matter is an emergency in that my elicnt‘s Ci\eek is being
gand,shod. for a debt that she does nor owe, and in fact Defenddni is entitled to a refund of
$see.uo die made pursuant w a e:puoe'en, mm moran for nw genesem¢m of
Dcfcndom‘s payehr:cke.

9, Thac no prior application had bean mudd for the relief herein

WHER.EFORE, this depoan respeoLf`qu,J-' prays I`l.zr an order direeiing ibm the

[a] vacating and siegeng1 effecva immodiaic.\)', the execution and
enforcement of a judgment dated Septombcr 27, 2012 and vacating
the temis dod conditions of d sripulariou dated lamar-y 3, 2012
denied Dermdnm;

(b) vacating and setting aside the judgment against the Dci`endanl. and
placing this matter book onto the court calendar and perrm'r'.ir\g said
ID}:;€-ndd.::: him §¢We and me amf ag:vcr, upon the ground ibm

en as elementary prod s 1 she is net oin med to '
this alleged debt; g pay

(o) granting of such other and Further relief as to the Court may seem
just, reasonable and equitable

Dated: Bronx, New Yori<;

 

 

Pelmlmy ?. 2013
ALBERro ToRMS, eso,
owed dave 1253 daemi oieaa'le ¢gm_%gsn W_.Z':’HQEE`IE;§EM_L_E

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_Case 1:16-cv-02134_-ALC Document 86-58 Filed 08/18/17 Page 24 of 109

CWT_L CDURT UF 'l‘l'iE EITY U'F NEW YORK

 

EOUNT`Y EJF BROH}{ "_X
2245 WEBSTER AVEMJE HD.`FC. Index ?\io. 43?2[1--20} l

Plainliii”,

‘ag&inst- AFFIDAVI'I` IN SUPP'DRT !

ELIZ.ABE'['H AL]BLZU .ACEVEDO,

Def`end:am(s).
ii§¥s"'e'§ris'iii?£iiil£“§m""¥

ss.

CC)U`NT`Y CtF BRDNJ{ }

 

ELIZABETH ALIBI`Z.'U. being duly swom, deposes and soys:

1. l em o named Defendnnt in the above referenced matter.

2. first en or sboer}enuary 1013, I reviewed my psysttlb amd discovered that
my mplo}’¢r was grinnellng roy wages for some unknown debt ] was told t;`om: Tite
garnishment Wns for the meter herein and immediately retrieved e copy from this court of
nn income E:-reeutlen Notiee dated Oetob~er ]0. 2012 showing then Plnintifl" wes able to

get sjudgment against me for $6.029.53. {See Exhibit Ajt

3. Thnt I` consulted with an attorney and told him dust my powell cheek was
being gmii$hgd, although I was making payments [See Exhit)ir B) pursuant re n

stipulation with this court dated ]anunry 3 , 20124 (See Exhibit E}

de “]`hrst in reviewing the eo:npia.int, my attorney advised me that the lawsuit
was fm unpaid rents from italy 2006 to Nove:rnber EUOG, when in feel f had ahde

veeeced and surrendered the apartment (5¢¢ E\J~t\vii“ 65

5. -['hstl have a meritorious defense in that I had no contractual obligations

with the PleintifF herein who misrepresented in documents filed with this court that tires

sues seed nos ensures massive salesmen es:er stereo/es

sage 134

 

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page` 25 of _109
am __ Wtiued w rents for july 2006 {}U(Jugh NCW*:HJL'!E!' 2006 Wh.€l`i m f£iC`I'. (l__} my }GM

expired 'm luna 2006. (Soo Exhibit D), (2} I had paid rent twough lone 2006 and gavo the
imdlord my security doposit (Scc Exhihit E] md (J) moved into an aparmrcni an mo Now

Yorlc C'u:y `Hou:-‘.ing Amhoriry (N"{CHA) in Jlmo 2006 (Soc: E:<h'¢hit F`)

o. 'I'.hat ldo not owe this al}ogcd debt because § had no oonlmomal ogcoemenc
obligations with Ploimiff. and thc signing of the stipulation undor .t`al.‘so protonoos and

judgment against mo should be vacated so that 1 can defend this case on mc'mc:rits.

?, Thac ms 1 stored botore, l vacated the apmm:nc, paid my ran and

smr¢ud¢rod my security deposit 10 P]aimif`l` in Juno 2006, and movod into am apartment

with NYCHA.

‘S. "Ihcroforo, l request that this court vacate the stipuiadon. dated szuo.-r}- 3,
2011, and judgmom.. dated Sepxombor 2’$1, 2012, and give mo an opportunity to defend
myself nn the ground$ that f did not owe Pla`mliff any rents subsequent to my vacating rhr:

\ apartrlmll.

9. That I would also request char this court order Plainr,ih° co reimburse mo l
$5[?[1.001 paid pursuant-to the slipulolion, and 590{].¢]0 that has boon gomi:;hod t?rom my

pay duough lowery 2013.

IU. It is also roquostod that the court order 3 amy on lho gamjshmonl of my

wages pending too fmo_'l rosolucion of this mm:r.

l 1. ”[“hm no prior uppli¢ation has boom nude for mo relief that Pl&;nun-chucst

herein

WI{EREFORE, il is rosp¢:otf\.tlly requested l}mt this Cqm grant the relief

requested and for such other amd further relief as this Cm.n't dennis jng,l and pmpcl._

oweo aged 033 oaaolm I;JJ.HE|EW' »*-QIBEB*JBH. motor §Io:no,*r-;o

Pago 135

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 26 of 109

Datod: Bromr., Now ‘.d'ork:
Pohnmry *~1~ , 2013

 

Subson`ocd and sworn to heforo mo
ou this '¥-' day of Fcbmary, 2013

O/

NUTA.R.Y PUBI..IC

 

L ERT{.`J `IOHRES
NotonyRPEblio mata DI New York
t~|o.\’.)‘\TU=iE&QEQB

Guollfaec.! In Bronx l:'_:o.oar\t}.'f ii
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Case 1:16-cv-02134-`ALC |I§ocum'e'ml 536-58 Fl|e€i 03/`1`8`/17 Page 27 of 109

C`ivii Com't of the City of New Yof!U-H-H~bm %Y?c=i@//

 

 

 

 

Cou my Dl' J’B/€PNK Motion Ca]. #w Molion Eioq. #_____F___
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Ellhlhiu .._
Defondam[s}!Rcspoodcnt{s) om=r......…..... .. .+ . ..

 

Upon the foregoing cited papers, lhc Decjsionf()rder on this Motion co YL'P..'? f M_ff

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»-'7)/[(' M/.: __.;3!@0¢¢{2&¢,//@ aj /1! /J.oF ,>“‘*2/’;»~ ic;’d~;'f -=;’~ _.
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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 28 of 109

 

EXHIBIT 9

Page 138

 

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 29 of 109

Cl’v'II_. COURT (`)F T]--IE C`ITY OF NEW Y(JRK_ _ _
COUNTY OF BRCJNX: PART 30 INDEX. NU. 48?20!! l
............................................................. ){ `FI`LE NO. 1331 7

2246 WEBSTER. AVE`NUE. HDFC`1

Pleintiff. AFFIRMATION
OF SERV.I_Q_]_E_
- against -

ELIZABETH AL[BIZU ACEVED()T

[Jei'endnnt.
.............................................................. x

Gary M. Kai'ulieh_. qu., am attorney duly admitted fn practice law bei!i;)re the
Col_Jrls ei" the mate of New ank hereby affirms the lel]owing under the penalty oi`
perjury

O_n Mareh g , 2014 I_ served the within Notiee nl"MeLien and Motinn upon
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COUNTY ()l~` BRUNK:

2246 WEBSTER AVENUE HDFC,

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-egainsf-

ELIZAEETH ALBIZU ACEVI-EDO.

Def`endom(_s}.

--.--m-»m~---}{.

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K_AVULICH & ASSOCIATES, I’.C..
i 81 Westehesler Averiue, Suile SO(JC‘
Poit Chester, New York 1{]5?3

Tel No. (9|4) 355»2{)74

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Motion MI`errn: Pori JG` l{oom 503
Civii Courl of the C.ity ol`New York '
351 Grzmd Conoourse, Bronx_. N`Y 10451

Ai`i'irmoiion in Opposition o!`AlberTo Torres_. Esq.
I.)oted Merch 125q 201 4.

Al"iidavil in Supporl oi`Eii;'.abeth Albizu~ and upon
all the papers and proceeding heretofore hod herein.

An Drdor denying .P'iaintifi"s application For a
judgment, vacate the lowery 31 2012 Stipuielion.
and for such other end further reliei`os this Court
deems jusc., and proper

Yours, [il'c.

ALBE,RTO TOR_`RES, ESQ.
629 Melrose Avenue
Bronx New York 10455
`Te] No. ['?13) 620- 0106

 

 

|'.f{jd

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F'age 140

 

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 31 Of 109
C.NIL C.OURT tT)F Tt-IE CITY OF NEW YGRI<C

` ‘~i’ FBRONX ll l
COU`NT O _____________ X l l W\)
lride.=t No. 43720-201 l f

:”-3-246 WEBS`]`ER AV`ENU`E HDFCt

 

Plaintifl"-_
-ngriinst' AF_FI`RMA".I.`ION IN
OPP()SITION AN.§} nga
` i‘ i T‘S C z “" _‘
. i Acs\recot “"‘FENMN
ELIZABETH ALBl./l MOT[(_}N
Defcndanl(s`j.

-H-__~____________,,,h___m____,_______,,,H-N__-,____.-_-,}{

STA'|`E C)l"' NEW `YO[UC ll
] ssi
COUNTY OF BRONX j

ALBERTO 'i`ORRE.S, an attomey duly admitted to practice law before the (.`.ouits
of the State o'f`l*\i`ew ‘.'i’orlc1 pursuant to CPLR § 2106, under penalties of perjury'. affirms
as follows:

l. I. am ttic attorney l"cr .EL]ZLABETI-I ALBIEIU- Dcfenda_nt in the above-
captioned matter and as such l am fully familiar with the facts and circumstances c[` this
case.

2. l respectfully submit this Ai"firmation lri {}ppesition and Det`endant`s
Cross Motion in response to Piairitift"s Mction for .ludgn'ient.

3. Ttiat Plointii`t` has filed a motion l`or judgment against Dei`endcnt dated
["ebi.iuary 20, 2014, lioweiier, this application must lie denied because:

(a`) Plaintif‘|` claims it collected $BGC}_{}(] pursuant 10 me

Stipulation dated _|nnuary 3_. 20125 howeverl_ De].\endam has

d°'“`“mcm&ry l""“"»"l5 1th El fof-al ct` $500+{]0 was Peid. i`See
Exhibit F] ~

[`b} Plaintil`l` claims it collected $Llo`].t§} by execution
marsliaL but failed to attach an
Defendant claims that the total
the alleged amount

- by n
y i'.;:vident.iarji.f proo.l" and
garnishment is greater than

(c} 'l`hc Stiptilation dated .lainiar;i 2_. 2012 Was entered into ii l
Dcfendm"` Pm`ge in reliance upon misrepresentations roadha
by F'laintiff to this court_ which was sense u "i;tlt'
discovered upon receipt of ii rent |iistor;\ir tedder atta::lli;d 1;

Page 141

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 32 Of 109
Plaintift"st\tfinnation In Opposition to Del"endant`s Ori'lcr
to Sltow Canse dated l"'ehriiary 20. 203 and tried with this
EDUIL and Det`eridarit is requesting that the htipi.ilatii_in ."io
Ordercd by this court be vacated pursuant to t_z.-i’l_tlt$$t]|$
(_a)(?,) (newly discovered evidence and LPLR§BUUE
(niistaite)t

4» Tbat `Plaintift` alleges iii the instant application that they collected only
3200.00 pursuant to the Stipiilation. liowever. Defendant has docmnentary proot1 ot'
payments ot`$500.00. {See l£sltihit F)

5. Lil<ewise_t Plnintii"i` alleges receipts oi` $1.161.33 from the marshal, hut did
not attach any evidentiary proofs and Dei`endant claims in her stri`idavit that she believes

that the amount garnished exceeds this amount1 and tl'ierel"orc, Plaintit`l` s application must

he denied as a matter of iaw.

 

CRUSS MOTION TO VACATE S'l`IPULATlON

 

 

 

6. Tliat: pursuant to CPLR §5015 (ti)(£) {newly discovered evidencc) and
CPLR§2001 (rnistaite)._ Defeiidant herein submits a cross motion requesting that the
Stiputation ot"January 3_. 2013 be vacated based upon newly discovered evidence and the
mistake of entcri ri,i_';f into a Stipulation lay a pro-se litigant.

?. Th.at attached hereto as Eshibit I) is a ledger previously tiled with this
court by Plaintiff in an At"iimiation lit Oppositioit dated l."ebruary 2?._ 1013 as [-].\'liibit 4
that evidences that as o.t` Novei‘nber 2006. the aiicged balance due as rent arrears was only
$1,233.'§13, yet Plainlifl" commenced a lawsuit for over $4,500.00.

S, That Det‘endant states in her Aftidavit that she has a meritorious defense

and she does not owe this alleged debt because `Del`eridant had no written contractual
l- 4

agreement subsequent to April 30_. 2006 with Plaintit`t`. (See E'.\tliihit t'_") Thm- ihl=_-

Stipulation dated January 3. 2012 was executed by her as a pro~se defendant who was

intimidated by the proc<-:cditipsn and that she signed thc Stipulation iii rc[iam¢ upon
misrepresentations "oy I’laintil`f`lterein, and therefore the Stipttlat'ioii ghould be wade 50

F'age 142

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 33 of 109

' -\ ‘_ ` ` __,LX'\S
that Defe.ndant can defend this case on the merits (5*3¢ l'-PMU" 2006 UBC H l

-. . . '- l ll L.'
Arenue L`Lt,".` a :lr{nck. J'J.‘iti£-’r‘lj’; C`i'tu'{ £om't. §_?HEE""-" C‘"“”O" R

hrtp;fwww. newyor kimvjournni. eartt!C‘nseDeciSiOttNY-,!'SF:" lam l 2025 f 0 H inn

9. 'I`hat upon information and beliel`. Del`endant vacated the apartment patel

all rents due and surrendered the security deposit to Plaintit`f in lane 20061 and moved
into an apartment with the New Yorlt City liensng Authority.

ll]. That the lease agreement expired on ripr'll 301 gough and D¢fendnm
became a month~to-rnonth tenant and had no contractual obligations to pay any rent to
`Plaintit`f after site physically vacated the apartment

li.. That Plaintiff in her Al`tidavit gives a detailed analysis ol’ the rent .led.ger,
with the conclusion that as ot` Novemher 2006, the alleged arrears were onl},r ii | .233.93.
however, Plaintilt’ sued her l`or over $4,500.0(1.

]2. Theret`orc, Det'endant requests that this court vacate the Stipulation dated
January 3,'2012, and give Del`e.ndant an opportunity to defend herself on the meritorious
defense that Defendant did not owe i'laintit`t` any rents subsequent to vacating the
apartment

13. 'l`hat Del"endant also request that this court order Plaintit`t` to reimburse
Det`endant the $500.[]|) paid pursuant to the Stipulation, and Defendnnt"s wages garnished
by a city marshal pursuant to a judgment that was vacated lay this court on Nlarch ll._
2013, {_See E);hihit.(.`r}

WHER`EF{]RE, it is respectfully requested that this Court deny Ptaimifj“g

application iior ajudginent, and vacate the Januat‘y 3.. 2032 Stipulati.on. and l`or such either

and furdter re..lie't` as this Court deems 'iust, and proper.

Dated: .Bronx,l"ie Yo.ri<
March';l ,2014

r"“1

nteaa'ro r§taas. eso.l;,age 143

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 34 of 109

CIVIL COURT C}P THE CITY OF NEW YORK

 

 

 

C'UUNTY OF BHUNX x
,~~ -~-“---- "- -'-"' - l f § .-) - -.n|,

2246 W`-EBSTER AVENUE HDFC. Inde‘:t No. 48“?'.,() ..{}l 1

Ple.intil"l',
‘“g“'“£" AFFmAvIT in suP.Po.eT

ELIZABE"I`H ALBIZU AC`EVEDO,

Defendent(:s`].
****** -- X

STATE C)F NEW YCJRLK }
}ss.
COUN'I`Y OF BRONX }

ELIZ'.ABETH ALBIZU, being dulyl sworn, deposes and seys:

'l. l am l'lte Del`endent in the above re|"ereneed matter.

2. That in or about .lsnuery 20`[3, l diseoven:d that my employer was
punishing my wages for the matter herein end that Plaintifl` wee able to gel at judgment
against me for $6_.029.53. (See E:du`bit A`)

3. Tl.te.t When l reviewed the eotnplaint'. my ritto.rne§ir advised me that the
lawsuit was l`or unpaid rents from .luly 2006 to `l‘\lovember 2006. ltowevet. l lied already
vacated and surrendered the apartment to the landlord in .lune 2006. (See Bxhibil B)

4. "l`hat l have a meritorious defense that I was unawzu‘e of when l entered the
Stipulation in that I had no contractual obligations with the Piajmm“ heij Who
misrepresented to me end in documents filed with this court that they are entitled to rents
for luly 2006 through Novembe.r 2005 when in lith (l`} my lease expired orr Apri| 30._
2006, (_See E.xhibit C`j, (2) l had paid rent through lone 2005 and gave the landlord mv
security deposit (_See Exhibit D) and {3) moved into an apartment at the New York Citl'
Hotlsing Authority (NYCHA`} in Jtme 2006. {See Exllil)it E)

5_ .[l'lst l do not owe this alleged debt because l had no contractual agreement
obligations With Plzlintiff after .Apr.il 30, 2006, and l signed tt Stipu|mion in reliance upon
misrepresentations by Pleintil"l" that l was responsible |`oll payments Gf~mm$ mm they

rented the apertnient_. and made the mistake o.[" riot challenging this allegation or tolling m
1‘~ c x `
fm 31101"'1€¥» end request that the Stipulation he vacated so that l can defean this g ss nn
- . t.'e
the merits
F‘age 144

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 35 of 109

ti. 'l`hat attached hereto as E,xhi.bit lJ is a copy ot" a rent ledger for my

apartment limm Al>l'il 2006 to l\lovembet‘ 2006 that Plainlil`i` filed with this eottrt.
as ol` April 30, 20001 l allegedly had a

020.06, and t"or June 2006 it was

?. 'I`hat this ledger indicates that
balance of S?.l.:ifi. and in May 2006. the balance Was lli
51_.0]8.59\ tS-ec lixhihit D) Thut in .lune 2006 | surrendered the apartment to the

landlord and moved into a New Yorlt C'ily limiting Al-llhmll`l’ aparlm':m‘ [SCE hx]“b“ m

S~ Tltat although l surrendered the apartment in luna Ellt)()t thc landlord
continued to bill me for rents in .luly 2006 and Aug,ust 2006

9. That the ledger shows that the total due in August 2006 was allegedly
32.033.04 and states that "FR.ANC-{J AVI.SIED ME `l`t'_l{`.l!l. Y Al"l`. AVA]LABI£ AS OF
AUGUST_. 51 2006.“ Howover~ l surrendered the apartment in .lune 2006. not .Aug,ust
2006.

10. l'['hat' in fletcher 2006_. the landlord credited $?Qil.{)u, Wltich l believe was
the security1 deposit leaving a balance ot`only $l_,233.93_. however, the landlord has sued
me for $4,593.91 but never explained to me how they calculated this nurnber, and l made
the mistake of believing what they told inc in court.

ll. Fthat as l stated before, l vacated the apartmenh paid my rent and
surrendered toy security deposit to Plaintil"t` in lane 2006. and moved into an apartment
with NYC.`HA.

l?.- Tberel`ore, l request that this court denyJ Plainlil'l"s request for a judgment
and vacate the Stipulation dated .lauuatjr 3, 20|2 in that l have a meritorious defense as
evidenced by the ledger thatl had not seen until l?laintil"l.` ti|ed it Witlt this cottrt_. and give
rne an opportunity to defend myself on the grounds that l did not owe Plainti|"|`any raan
subsequent to my vacating the apartmentl

13. That Plaintill" now tells this court that they collected only $200.00
pursuant to the Stipttlation which is untrue, and in fact l had paid them $500,!)(} {See
`Exhibit F), In addition, ll believe that the money that was gtunished l"rom my paycheck
exceeds $1.161.83, and l request that this court require that Plaintiil` provide within
proofs as to how much was actually collected

14. Tltat l Would also request that this court order Plaintit"t` to reimburse me
$500.00 I paid pursuant to the Stipulation, and the moneyr that has been garnishth from
my paycheck by the Mal‘shall, the sum oi`which is unl-:nown.

WHEREFGRE, it is respectfully requested that Lhis Court grant the relief

requested herein and t`or such other and further relief as this Court deems instead proper
F’age 145

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 36 of 109

 

, q.r-MT.. ," .-..-..- ,.--- -\ re »-e wm ,.-r-"-."-_"-T- l

Dated: Brorec, Ne~w Yorlt
lith 15' ,2014

 

Subscribed and sworn te before me
en this sf day or H.or& , 2014

W .";.;

NOTAR.Y errach t .

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Page 146

Case 1:16-cv-02_134-ALC Documeot 86-58 Filed 08/18/17 Page 37 of 109

CIVIL COU`RT O[" THE CIT"¥' OF NEW YOR.H
CC)UNTY C)F BRONX

 

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~ --------------- , -zm l

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salmon

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DeI"end:mt(S}‘

-- __ _ _________________________________ ){

 

STA'[`E ()F NEW YOR.!~'L )
) ss.:
COUNTY O.I" TI'I`E BRGN.`>{ )

SORAYA C-»¢?LIU.BAL.LOq being duly swom_. deposes end soys:

(l) Deponem is not a party to the action and is over 13 years of age and resides
in the St:ate of"New York., County of New ‘¢’ork. _ _

(2) On the Q{G:i'ai day of March_. 2014, deponent served the within
A_FI"IRMATION I'N OPPOS I"l`!ON AND D`EFEN L`.*ANT`S CRC}SS MOT|ON lo the
Attomey(s) at their designated address(es):

BRETT MILCI~IMAN, ESQ.
KAVULlCl-I 615 ASSOCIATE`.S_. P.C.
181 Weslehester Avenue, Suite 500(.`

Port Chester, `New York 105?3

VlA ELEC'I`RONIC MAIL end BY DEPUSITlNG in a post office or official depository
under the eseiusive care ofthe United Stales I"oslal Sewioe within the Sta.te of `New 'York
a true copy thereof in s properly stamped envelope addressed fo the individuals st lhe

addresses stated

Somya Ceral:`)éilo

 

Subseribed and sworn to before me
on this ila day of Mq,¢£,i/¢ , 2014

é/-' . si.osmo Tossss
Noierty F’ub||o State 01 New York

 

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NoTARY PUBLI<, . , _ _F_{_ §_;§€qusyd_er.eu_§

Ceise 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 38 of 109

Page 148
Exhihi‘l h Exhibit B =: Exhibii D _ Exhibit £ Exhibit F

 

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 39 of 109

Bromc Couniy Givil Couri
Clvil Jodgment

index Nombor: ¢V»UdB?zU-HFBX

ss "

 

PlointiH(s): _ _ ,
2245 Websler Avenue, HDFC Judgment issued: Per Defeult in SllPU|Etl”"
vs. fin Molion Df:
Kevulion & Assoeieles PC _
Defendent(s): 131 Westchesle; Avenue, Si.iile SODC. F'Ofl
E|izel:ieth Alioizu Aeevodo C:heslor, NY 10573-
Amoi.inl claimed $3 953.91 ` mde Numbar FQB 545_[]0 ‘l”rsnscripl Fee ::.g§
Less Pay'menls made $:2[]0'{]0 mn$um&r gmu'i¢ F¢,E $O.Ul] Eounl‘; Glorif FEB '
Les$ Counteroleim E.'ll‘lse\ $¢J_go 55“,[¢¢ |:gq 525,[_`][] Enloroerner\t Fee- 54 U_UD
interest 07£01!2006 1521 105`52 Nq,-,.M\{|tary i'-'ae $0.00 Drher L‘Jlsl: ursemems $'D,UU
Arrcimey Fees $g_gg miles er Tiiai Feu $O.UU Olhw C¢'SLS 50“00'
Cost By B!atule $20.[}0 Jory Demond Foe 50,@0 __`
T°ia'f DET“HQBE $5.399.53 Totsl Costs &'Clisbursernenls $'130.00 Judgment Tolel C`_EE.UQQ.SSH;J

The following named perlies, addressed end identified es eredllors oelow:

F"leiniiff oredil.or(s) end address i

m 2245 Wererer Avsriue, i~\oFo '
2246 Webster Avenue. Bronx, NY 1 045?~

Shell recover ortho following periles, addresses end identitied eis debtors below:

Defendenl debtor(s) end address

(1) Eli:eheth Alibizu Aoevedo
B'l'| E. 1671?\ SIIEBL Api. EA. Br`Ol'iX, NY 10459-

 

Judgmenl entered et the Eronx County Civi| Court§ 351 Grand I.'.`.onoourse. Brons, NY 10451. in the ESTATE OF MEW YORK

iri the total amount 01$6,029.53 on 0912?!2012 aff-1215 PM.

Cerol Alt, Chief C|Brk Civil Court

Judgrnent sequence 1

 

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o“rse»

Pago ‘l of1
F’sge 149

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 40 of 109

 

 

 

 

 

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cm L, worn ne '{'HE amf oF new sorts nom nder ND\ damn-1 "‘*`.
cogent orr snow _ pile NQ, 1;331?.0

sears stnn revenue nonel1 d _M_"

Pl*iimiff- INCGME EXECUTIUN

'The Peenple: of the State.~
of New York

A£.:itinst

Elizslteth Alibieu Acevedo,

 

 

Bofendenfl$).
mm l ` . ‘ ._.ftj-,_ 'L,ll..i:t <‘.E\‘-JI'L-
,[.h£ following judgment mg amy gnma in famr- of the playing (judgmsnt credited m the rifEir:e ot' the clerk o i» wit
1__,` 1 1 1a minimum flow MMBLDR‘-°“- .E']Hh_[l-l' wm:"!;_,ig
- ' : :ll{)

t-:%-Ii,§?l. comer oF ms errir oi=' new 'roiti{ sis'?ietilz tssioftitl AM $6,029.53 56'029`53 MMEME 12 nn
`cooi\".r'r os sooner
The judgment was sia-covered sinst El.i. ab th Alild§-`Z\l 593de " ` -'
end trra.ns<:ripted with the certify eiselri',r) of Z a Bmmr ief£nmuaudgmém daham

b J .;vHE-FJBAS` UliE exec“{i:m is issued against E}_izubg_[,h _¢§,_ljb_'|'\$'..'. _.:J,EE\rEd.D {i;_\_f$l'l£i:£l'll, (jlllla§:.\:l.`l'lt
de f_¢_i?

Whose `.lastknown address is= Sll`E‘ lBTt]) $tree!, .
sine ss smm, N'f smas~s'i'n

and said defendant {judgm_nn; d¢htnm] ig mgm-ing ar v,-i]l`gennive &um the Employer* whose name md addr¢’»SS i-‘*` i
Mi.iford Plaoa. Eobol ‘I{]i] B{'.i:r A\=em:e
New Yot.'lr., N'Y 10036 Attnll"ay'roll

sine dies s pin waste re wit s la be paid weekly immile 01’- 5 ‘H*°h"
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I._$

-ssris ~

Yo'-_J. are divested windsor the judgment with interest together with your foes' aan espenns, nutot` all monies now and heteafter dee
owing w too judgment debtorfmm the Eim]\loyer pursuant to C'PLR ill 5231 d 15 ‘U`.S.C lB'l'], et. Soq

mem-ion w bidsth DG'bf-O:‘: Yotl are notified end commanded within 20 dayto start paying to the Enl‘oroement O£Er.eir serving s tony
of L"me Im:orno Exet:ution on Fou-` installments amounting:to ltJ(hut on more then mo Faderel. limits set 1bth tn 1'. limitations on she
amount that L'.m be vdthhalli. belo-wl of any and all sal.'l.xy. wages or other income iododi.ng' any nnci.all overtime earni_n|;s, commissions
or mille- I.' il're itt-liar GJUIE]lED.F-B&idrl retei'\-’E-tl \'J: herequ w lie :rt'.G:i.w{l .l'mm your Employcrr add tu oo.nti.o ue paying .»suo‘la i.::..-i:n§t],m¢\it-_g \;;\:i}_
Ll'.'ie_tud;tment wit-h interest and tim fees md expenses of !l'i.i.s Inm'me execution are fully paid and snitis:'ilti.ir end ifyuu fail to do so this
lmnme_ E:;¢mtion wi.l.l be served upon she Emplowr by t'iio Euforommt l`.`.*£"mc:r.

D`Lrection to the Emplo_'i'!iri Yw am oommsndedtn ‘Wil»hhnld mud pay utter lo the Enforcemmt OEEcorserving a eddy of this ln:_~n.~ne
E:oeeurion on you? installments amounting to 10% (but no morse then the Foderal limits col fourth in I. Li:nit.an`ooo on nine emount that
con l|Je withheid, below of any and all seim“, Wegea brother inocme, including amy and all overtime earning$, wmmi~;.;j,;.¢;_=, m- §§th
mguiar compensation now or hereafter becoming don to judgment debtor until the jo rig-ment with mta-mrs and few mg ¢:,;Wu_,w_& m- gm
locome Exeeuiion are fully paid end Ba'tieiieli. ` d

Dor.ei:l f du
'_D.-'lt‘li':`£{!l£ Go:y novot,toh E.s:;_
Kewol.iett a Assooio'ces, T.-“C.
ls'.i. westchester Avonoe, Soi,r.e 50ch
Po:i: C.`.hest.er, ttt' 105?3
l£ll~i} 355-2034

1 “Empioyer, “ herein includes any payor of money to Judgrnreni: Debtor.

Importa.nt Steteme.ol:

sine mem execution aimed die withholding dr up m to pe-

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nos-rowen store or federal law does not permit the Mthho_ld.*mg of that moon of the judgment:.§ebt¢r';u;n;g whom Th* - d . t
s norma n new wore cain marin Lew ins sure s seat and is united stan one n 1511 n m ¢` “ m timm de““""

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l. limitation on the amount that eeo be withheld

.~L. on income execution for installments from e judgment debtors gross bonnie cannot exceed tim pr-

ju-dg'i:n¢nt do'ot.or'o gross innomo. mm now or ms

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 41 of 109

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civilian _. Exhibito Exhibit£ EIh-bltF

    

Case 1:16-cv-02134-ALC Document 86-58

Filed 08/18/17 Page 42 Of 109
CWILCGUB.T OF THE CITY UF N'EW YURK `

 

 

CUUW‘\’ OF BF.ONX
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2246 Wobster Avoooo,l:l;l;;l:§ l mEx No*
’ ' ruiz No, 133 110
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plac¢ of business
` oberh Al’ ' .
Ehz ‘bizu hc¢vedo ‘. _: 2246 Webstor Avonoo
Bronx. NY 1045'?
Dofendaot{s}
§ 1
To the above named riot¢odoots[s):

"{OU ARE HEREBY SUMMDNEI) to appear at the CIV [l`.. EOURT OF 'i'HE CITY OF
N`EW YORK, C{JUN‘I'Y DF BRONX or the oHioo oftl't£ clerk oftho Mid Court at 351 Graod
Concoin'so, Bronx, NY 10451. in too COUNTY {}F BRGNX, Stato ofNow York. Within the
lime provided by tow as noted bolowand to iilc orr answ¢r to the below complaint with __:¢ >
clerk: upon your failure co ooswer,_i\idgmmc will bo taken against you f`or the s _ » o

with interest thereon from ioly I, 2095 together with costs of this octioo.

DATH[J: Joly 1,2011 _E _P A®
FE - .B}..

M_ 1 4 2011 tort-utich or Asr.oniaos, P.C.
_ ,f. Atrornoy for Pla:irnift`
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Pozt Eheoter, N`Y 105 73
(914} 3 55-2{]74

   
  
  
       

Dofoogant’s A.ddro§:
`Elizabeth Alibim Aocvodo
sr 1 E. lerch Soo=r, Apr. 2.-t
Broox, N"'F l 045'9-277 1-

ch; nw law provides than [a) ]f the summons is served by its delivery co you personally
within the C;ty cawa Yorh you most appoor'ood answer within TWE.N'I"I' days after such
sw»i¢¢,; or {5) ;fm¢ simmons is aimed by any means other than personal delivery to you

within the City oft~low Yorlc, you most appear and answer within THIRTY du 5 age f _
senior rooms oteri with the clerk ortho court y ' P'°° m

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F‘age 152

Case 1:16-cv-02134-ALC 'Document 86-58 Filed 08/18/17 Page 43 of 109

CGI'M‘[PLMNT

most ncrton; slater-itt seeks re reserve damages f"°"i dilemd“m(g) mri br;l:l ?{rlttilease
agreement in the sum of $3,993.‘9| representing rental meals for the room s oh a ‘y,eéd
balance of$399.79; August, 2006 through end inefuding Novemhet, 2006 itt L:ogi;f<>nn I‘~W
monthly sum of$SS\B,§J for the premises known es 2246 Webstet AV§‘»DHH, P - d further relief
1045'? together with costs and disbursements of this action end for dutch other an '

ss lite court may deem just.

§MM: Plaintiii'seei:s co recover damages from the defendant in the srtttrtlc{t)ft:mf
3600-00 representing damages together with costs and disbursements of tins norton on
with ether and further relief as the Court may deen'i_]ust.

'I'HI'R*.D AQTION: Pleirttiff seeks to reeo'rer damages from the defendant in the sum of ’h,
3500.00 representing reasonable attorneys fees together with costs end dtsbur'edm¢nf$ Gl'- is
action end t`or such other further reliel`es the Court may diem JU$L

WHEREFDRE: Plsintifi` demands judgment {A) on the First Aetion, in lite surrtll of $3,993.91
plus interest from July i, 2006 together with costs and disbursements of this action and for
such other and further relief as the Court may deem jttst., (E) on the Seoond Aetinn_. tr_t the sure
of $600.00 `plus interest irqu luly i_. 2006 together with costs end disbursements ot this
action and for such other and fortherireliet` as the Court may deemjust, (C) €`-'Il lh‘-’ Tb!l'd

Aetion, iit the sum of $500.00 together with costs and disbursements of this action and for
such other and further relief ss the Court may deem just.

The Plnintifi` in this action is `.NOT required to be licensed by the New `Yorl: City
Dt:parttttent of Consumer Mfeirs.

 

F’ege 153

 

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 44 of 109

    

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 45 of 109

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BRONK, NY lll-l$‘l 559 nut 1331-d 511-wl Bronx, NY 10453

 

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T. Thls renewal lease ls leased on i_jle same terms and nondltlou_e as your expiring leeso, except that lawful
provisions attached and written agreemean between owner and tenant attached have been ndd¢_»d.
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l`nls form becomes n binding lease renewal when signed by thejowner below end returned to the tennnl. A. rider selling
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timber attached lawful provisions and attached witten agreemc:nls, if any face item 'l under ?ART A abnvia}

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r|ie present lease set forth above 0

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 46 of 109

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Case 1:16-cv-02134-ALC Documehf`86-58 Filed 08/18/17 Page 47 of 109

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 48 of 109

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 50 of 109

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 52 of 109

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 53 of 109

 

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 54 of 109

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 55 of 109

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 56 of 109

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 57 of 109

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 58 of 109

 

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 59 of 109

  

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Case 1:16-cv-02134-ALC Documen186-58 Filed 08/18/17 Page 60 of 109

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Case 1:16-cv-02134-ALC Document86-58 Filed 08/18/17 Page 61 of 9

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1153 ;LY“ """°m"*'*§°::":::g WW§§&LHMM -“*""“W “*»‘.;."“M §
§ z
q * 1 4 E C'.') E E 5 5 7 5 4 ‘F §§
q ` ': -: ' . ll
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'. * 4 1
l... _ _..'

 

Page 1?1 w

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 62 of 109

COURT OF FI`HE CITY OF NEW YOI{K
§:)`;:PIETY OF BRONX Indt:x No. 48’?2(}-2!}!1

2246 WEBSTER AVENUE .HDFC,
l’lnintiff,

-against-»

ELIZABETH ALBIZU ACEVEI}{)+

l)cfcndant(s),

 

AFFIRMATI'[}N IN OP`P(JSITI.ON
AND DEFENDANT’S CROSS MO']`ION

 

 

ALBERT(} T()RRES, ESQ.
629 Melrose Avemle
Bruox, N¢:w Yorlt 10455
Tr.-I No. (?18) 620-01le
F.tt.\' Nt)- (7].3} BIB-UI{|'?

ATT(}RN.EY FUR l`}EFEN]}ANT
ELIZABETH AI..}BIZU

 

rursuanl tn 21 N\'C'RR l30-l.1. the undersigncd. nn attorneyl admitted to practice itt the courts ofNew \'0rk Stas¢, cert.ilir.s that. upon
information and belief and reasonable int;uiry. tltt: umtcnlions contained irc 'lltt.~ annexed document are nut frivuiuust

Signcr's Nnmc: igaerm Torrcs. Esu.

 

Page 1'!'2

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 63 of 109
,-'""WNM-v'r
-cf. ij ' wills

ClViL COURT OF `l`l'li:` C.`l"l"t' NEW Y(Ji{i~i. _ _l _ _
C{`JUNTY (.`)i" BRON}.’.: P.J-'*.R'l" 30 li\l|_)l;kr i\tl). 43?2{}![ I
-------- ----- -N` l~`]"l-E N{). l`JSlY
2246 WE!BSTE'.R AVIINUE l"IDFC..

 

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-atgttinst~
Alif"]ili\fi}\"|'i{`)?~i lN REP[_. ‘r’ 'ml;{_}
DEI"`ENDAN"["S O.Pl"(}SlTlO__i__‘\i_

      
     
 

Civil fjt?t.'."t

 

 

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city en " ' "t'wk cummth trunnmnn'"r finn
APR 23 mt W,Pns:'t"t<)n 19

l;)r.~:t=t;-:Nt“)n.n'r’n 'Mt)'t'tnn an
EN l g,;.c,t:.t) \mc»t't‘tt m‘rpt._ztn't'n')w cit
an)ntt wilth ASE'!"FL,EMI§NT

 
   

ELIZABETH ALB[ZU A{`IEV`|`:,.

Dcl.`cndzlnt.

 

Gcry `M. i'~'.nvuiich, Esq._ nn attorney duly admitted tn practice law bct`nrc thc courts o't`
thc Stntc nl`Ncw York hct‘cb)f ni`i'“it‘ms the ibllcwing under thc penalty c'l" perjury ptn'$tntnl m

CPl.R 2106.

1. 1 tim n member of the law linn cf l{avttiich & A.'ssocitttcs. P-C`., nl't'ct~ncys l`or thc
Pinintil`l"hc.i‘c.in. and ns such, l nm l`n|l_v [`nmilitnr with thc facts and circumstanth cf thc within
pt'Ot",cccling,, encch ns tc those owners stated to l)c bascd ttpnn ini`nn'nntinn nnci itclicl`. and 115 m
lht'JSF: mnttcrs., 1 bciicvc litem 10 bus lt‘tl£‘. Thc lms-is t_tl`nty bclic['in inl"cn'mtttitm i`umig;|wd m mg
by my clicnt. int`t')rmntinn contained within thc cnnt‘t`:z iiic._ ttnti inti.')rntnlion contained within

thc- tilcs ns maintained by }'nnr ni"l"n'ntnnt’n ni`t'icc.

2. lmch this affirmation in rcpl;tl tn t]tc l)c.i"cnd::tnt El.lZAlBli-I'l`i-] AL|BI'Z.U ACFVEDU'

Oppc)sition to Plaintil`i"s Mnrion for .ludgmcntt nnti in Oppositinn 10 l']cl`cndanl`s. Mnt-inn 10
vacate stipulation uf settlcmcnt. Annt:xt-:ti ltct'ctc) ns Exhibil "l"` i:-t tt cttp\" t)l` thc D¢H_;p_dam't;

Otn'l`t "-' """\*t' '. = w ~. .~. _
|ttst nn to tltnnttil s t lt non int jndgmcnttlncl Ltn_as» i\lntn)n ici calcium m mmilmmn mr

Scttlcntettt.

Page 1?3

 

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 64 of 109

3. antenna stitcttel;'rn nolan scarano ne ana ci)i)netifi@l'= 10 1“=1`1““*"`**
motion for judgment and a Cross Mot`ton for vacatur ot`st'ipulation oisett[etitent.

4. Piaintit"["now submits its Reply to Det"endant’s Opposition and ()pnositiun lO
Dei`endant’s Motinn for vacatur of stipulation oi` settlement

5. PlaintitT commenced this action seeking to recover $5`{}93.9¥ on or about lilly ['~'1.
201 l. Annexed hereto as Exhibit “2" is the affidavit ut` Piaintil"t`s managing tigan .Ianine
L.osey. Please see the summons and t;omplainl annexed hereto as Exhibit "‘.."3

(). Det`endant interposed an answer on or about i‘~iovemher 21. 201 l. Picase see
Defendant`s answel.* annexed hereto as E)thibit' "`4."`

7. l']`hereat`ter. at a pre-trial conference oi` this matter on Jamtary 3, 2011 b_v way ot"a So'
Ordered Stipulation, the l’arties hereto settled this matter in the sum ot.`$?,.Ut)[i.Ut) at the rate ol"

$50.00 per month until that sum had been paid in iull. Anne:-ced hereto as E:<hibit “5" is a copy
of the stipulation oi` settlement

8. ]'~`ttrther1 upon Det`endant`s det"attlt, i`*laintil't" was to provide to ilet`endant with a notice
ol`dei"nult and 1.0~dny onl:»ou'tunitj,r to cure said dei`at.tll. lP']ease see the aforementioned Eshibit
alia

9` Also per the terms of that Stipnlation ol`Se!.tlctnenn Dei`endant agreed that in the event
she should default on that settlement, i’laintil`i` was entitled to move t`ot'jttdgntent in the hill '
amount oi.`[)et`endant"s arrears baiance1 $3,993.91, less any amount naid, with eo§;tg_ t`@¢,-.;`
disbursements and interest thereon Ii'nm .`iuly 1.20{`36. Piease sec aforementioned Exhibit "2."
Please see the ttii)retnentioned IIxhibit "3."

10. Fttrsuant to the I"arties` stipulation Plaintil`i`collected 520[}.(`1{). Please see the

aforementioned `Exhibit "2.“

Page 174

 

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 65 of 109

l l. I-iort-'eve.r, Det.`endtmt defaulted on that stipulation on at least three t.ter:asions. I’lcase see
the aforementioned Exhibit "2."'

ll Pttrstlant to the stipulation i’lttirtlil'l`seut to [)elit-:ndant the l'e'-`ll'lsiie d"`li”uh' 'l]i')ii""es‘
Please see those default notices annexed hereto as t`£xliibit "6.’*

l3. 'l`hereat`ter, upon Det`endtmt`s failure to cure her default l'or the month ol§`.luly, 2012.
Flaint'it`l`submitted l"orjudg_ment against l.`)el`enclanl in .'tieotembe.t: .?.Ull.

l4. .ludgment' Was entered on Eieptember .-'l'lt 510 l 2. l“‘let-tse see a copy ol` that_juclgtnenl
annexed hereto as lil.~tltibit *""l."

15. `i`ltet'eatiet', Plaintill`eonunenced execution measures and st.lccessl`ully collected
$ltl 61 ,33 toward the satisfaction ol" that judgment l’le.asc sec albrementioned l:i.\thibit "?.."

lt'i. Detendant then tiled an Ordcr to Show C.`a'use seeking to stay the execution measures
and restore this matter to the calendar. Annexed hereto as l_~`,xhibit ""l'$ is a copy ol` l]el`endant‘s
Order to Show Cause.

i?. 'i"here.after1 Del`endattt retained counsel and filed a supplen'terttal affirmation with her

Drder to Show Cause.
lBi On Marclt l l_. 2013, the C`.ourt granted Del"enclanl'.`s Order lo the extent that the

judgment and all execution measures were vacatetl. but the Court did not vacate thc stipulation

 

due to the fact that the aforementioned stipulation required the l’laint'ifl`to move for imignwm
-_..._,__"__‘_"'___m"'
upon the Delendant‘s del`ault. Anne)red hereto as Exhibit "9" is a connr ot`the Court`s decision

_..-*'_

 

 

19. There.l`ore._ as the l.}el"endant is still in default oi` the stipulation of settlement and owes
culrentl}-‘ owes 52`632.03 ($3,‘i}£il’_l.£llw $1,361.63), plus costs, t`eos_ digbul»gm»,wnts and imm.[:,$t

t`rorn .luly l, 2006, Plaintifl` moved |"ol* entr_t,r ol`judgrnent against [)et`endant. Annexcd hamm tie

Exhihlt “`lU“ is a copy ol` l’laintit`t"s l\/[otion.

F‘ago 'l?‘5

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 66 of 109

oti-:Ft§:t~ton t~rr‘s oet>osn'lou ones No"r artists atty tsstn=_t or martintal_._Li,-s_tfj_i`_

20. Del"cndanr. in her GPPOsitiont avers that l’laintil't`is not entitled to a _illd.*`;’~'il'~"“l due m nw
iact that Plairtti|"l" failed to calculate additional payments made l?}‘ me -Dc-rcm|m“‘

21_ Aceordingly. t`uc defense has no mcrit.

22. The Det`endant`s allegation is that she sent payments ol'o\-'er 3§500.00 to your
Aiiirmant`s ot`tiee in compliance with the stipulation ol`scttlentcnt.. Plcase see al"orcmentioned
E>:hibit "*l

2`3. l~lowever. as stated earlier. Plaintil`l`only received $200.00 pursuant to the stipulation ul`
settlement; any additional payments sent to your Al`linnant’s office were never received or
negotiated by the l"laittti l`l.i

24. l"lou.ever1 even assuming arguendo, il` that was true, Del`endant Elizabeth Albizu

Acevedo has only provided receipts ofmoney orders totaling 5350.00` not the alleged amount
ol`il$lll).illl. Please. see aforementioned E)thibit *`i ."`

25. Del`endant’s additional $150.00 are not proven within lite Dei`endant"s motion papers
Please see aforementioned Eaiiibit "1."

26. ’l.`hereforc. li)'el`ertdant`s allegation that she Was complaint with the stipulation ot`
settlement is without merit.

27. Stipulations entered into in open court are |"avorcd by die courts and are to be set aside
only whole there is cause sul`licient to invalidate a contract such as t`raud, duress collin-zionl or
mistalte. Dubi‘ e, S.lriros Corp_, 2009 N‘r' Slip l_`}p 07”)".~`)3 fld I;t@p“t 3(}()9]; HUHW;{ \_._ B,,Um.` 64
NYBd 224 {1‘934].

?.li. Defendnnt has provided this Court with no basis upon Whi¢h m gram her molina mg
there is no evidence of ti'aucl, dt.rress, collusion or mistaite. ”i`his (Iourt is respectfully directed

to Del`endant"s motion in support, the albreotentioued E)thibit "‘i."`

F’age 176

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 67 of 109
`29. l"laintit`l` has duly demonstrated that the l’arties entered into a rent st.nhiltr.cd lease

- » t : ' was
agree-mean duly executed a subsequent two year tenet-val tlttttul and then t£nttl ica:t_m“
' " #‘ "" -'-"=~ ' t ‘t' test'n“ttl
deemed renewed upon Delendant’s l'atlure to 1'ethtttttt.i_l s least renct\:ll:_tit t
… ,_”_”_r'_~_____,____,____,_....-»-'-"'_ ""‘_"~em.-

. ' . _ J. -= '»=' ~.-'i'tul
continue to pay rent through Jttne, 2006, and then vacle fitch rubl'~'~l i-“*~““”“i` on 01 fill

 

Aug,ust 5, 2006. Please see the aforementioned E)thibit "i.`

30. l’laintift` commenced this instant action to recover monies owed to it resulting |iom
Del"endant`s breach ol` the Pttt‘ties‘ agreement

31. 'Fhe Part'ies then entered into a valid So-Ort|ered stipulation wherth Del"cndt n_t
admitted owing these titgt_t_ies to l’laintifl`. {`_Empl.tasis f-tdded).

32. itt all times Plaintii"l`complied with the stipulation by dulyr serving [)e.t`cndant with a

notice ot` default and opportunity to cure upon each instance ot` l_`)et`e.ndant"s default l’lease see

the atorcntentioned Eshihit “."li

33. Pursuartt to Delendant"s hreaelt_. Plaintil`i" then tool-z legal action to which it was entitled
as determined in the l*at't'ies` St'ipulation and obtained a judgment against the l`)el`crtdarlt itt t'.l‘te
amount ot`tlte arrears it owed, less lite 3?200.00 previouslyl collected l')y it. with interest thereon
from july l,_ 2006. lilease see the albrementionerl I'i:thibit “.0_"`

34. To this end1 Plaintil`_l'questions why1 a.l:'t'.et' more than a year l`rom l-l`On. Capelia’s
decision to vacate the ju::l,-=:»ment1 Del`endant is now attempting to vacate the court,m-d@[e(|
stipulation o't` settlement based upon the findings ol" newly discovered evidence which was
given to Dei`endant‘s counsel in Plaintil`l"s Dpposition to Dei`entlatt|.`s Ot‘der to Show Ci`.ause.

Please sec albrementionetl E:~thihi t "0_"

35 Simply stated, the l_')et`endant E|izaheth Albi'au Acc\-'cdo agreed to assume ql[
'- f
responsibilities under the lease agreement When she signed tlte lease and made herself the
tenant of record I’lease see al`orentcntit.')ned Exhlhit "l."

Page l?'?

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 68 of 109
t:)et-‘tsi-toat\n"s ettoss t\»to"not-t son \»*Acs‘ron ots "rt--tts s't`tet..tt_.fs'l'_lflli`ii?£
stii't't't.et\»tet\t'r tit-totth eis peril EQ

36. A stipulation of settlement that is made in open court is a contract Etrld 55 governed by
general contract principles for its interpretation and el`t`ect (.t‘ee [,neor'c.rs:u v Ltn;'ot‘t'r.-"'.tft. 47
nose ssn, sss-, Mam»~ ry`r»i»t»;.t,t- v t-n»st-. sss nose ess, essi. “[SJtiiml=”“if-*“S Ul`f“i“'t”“i""“
are favored by the courts and not lightly cast aside" (Dt'nrczs.t'nttftt't v t_.t`rf;h:'ttt. ?i A[).'i¢.i 51 - 551
see iDTCorj). t.' '{:t»'c'r) C§mnp. S.A.R.L.. 13 NYBd 20"),`21.3.

3`?. Del"endant's contention is that newly discovered evidence that was included itt
l.’laintitit`s C}pposition submitted before this (,`ourt over n _}'ec'tr ego is sufficient to constitute a
mistake on Det`ertdant’s part in signing the stipulation ol" settlement in open cottrt. [`Etnpltasis
ttdcied.\} Piease see aforementioned Exltibit ""I

33. C)n .Iat'iuar_\,r 3, 201 2. Dei'ertdant. alter going over the case with Plaintift"s counsel
voluntarily agreed to a stipulation of" settlement that weis duly reviewed and authorized by
I-lonot‘al:)le i{eui Ct'uz. iliease see at`ot‘en'tentioned E:~tltibit “2."

39. Deiettdant was not manipulated or lied to by Plaintil"t"s counsel or this l-lonorahle Court
when the stipulation ot` settlement Was createcl. (see M_.‘§. 3 Dev. (.'0.. inn v Lopes, 38 .Al)fi d
713 [?.cl Dept 200?`] [_."t partyl seeking reformation must show clearly that there has been tt
mistake] [emphasis adcled})_

40. Detientlsnt could have simply declined to sign the stipulation ot`settiement it` she
believed she owed less than what Plaintit`i` was suing l`or.

41. 'l“h.erei`ore, Det"cndant’s allegations based upon newly discovered evidence received
from the Plaint.ift`more than s year ago is without nterit.

42. Del"endant is simply attempting to manipulate this court and strongwm.m the P]

aimit`t`

into t`orgetting her default and accept the monies already paid by her. P|ease see

aforementioned Exhihit “ l.

F-‘age 178

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 69 of 109

43. the denies here was wittth and cwa 1135 the discretion m deny 3 "101‘0“ m "E“i““i E“"
order entered on default tt-‘here the default is willful (s'ee. Gers»ijt-’ " GW$R}'.* 143 A‘D'zd 6?4`
6'?5)

44. Therefore_. De|"cndmtt's Cross»t\ricticn for Vscatur ot`the Stipu|aticn cl` Setlleltt€ttt
should be denied .

45. As such, Pisintit`t'respeett`ully requests that the C`ourt grant P}aintit`t` Judgment in tile

sum ot"$!.o}£.t]ii plus eosts. intcr~t:stsl end disbursements thereon t`rcrn luly i, 2006.

W`l{ERlSFORE, your At`tirmant respectfully requests that the instant motion be granted

Deted: Port Chester. N‘t'
Aprit 16, 2014

    

 

Gary avulieli, .
Kavu reh dc Assoeiates, P.C.
Attorneys i"or Plaintifl`

131 We$tci'teslet' Ave., Suite SUUC
Pcrt Cl'tester, N`i" 105'!3

Ph: 914--355-2¢]?4

Fax: 914-355-2073

Page '|?9

 

 

 

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 71 of 109

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COL]NTY {}F BR.ONX: X
'" ` " 2 -2011
2246 Wees'res AVEN\JE t~tDFe, index No. 437 0
P}eirttiH`,
`“Eamm` series mr Me'rieri
AND AFFIRM.ATI ON
ELIZABETH ALBIZU ACEVEDO, [N OPPOSI I`ION
Defertdam(s).
MOTION‘. Alberte Terres, Esqi
Attemey for Def`endant
DATE, TIME. AND' PLACE,
OF HEARIHG: April 2, 2014 at 9:3{] u.m

Metien Term: Part 30, flaum 503
Civil Court efthe City of New ank
351 Grend Coneeurse, Brem'., NY 10451

SUPFORTD~IG PAPERS: Affirmetion in C}ppositien of Albertu 'l`erres, Esq.
Dated Me.reh 25, 2014.
Affidavit in Buppurt of Elie.abeth Albizu, and upon
eli the papers end proceeding heretofore had herein

RE,L[E,F I{EQUESTED: Art Grder denying Plaintiff’ s application for a
judgment, vacate the J£tnuary 3, 2012 Sti;'n.iietii:iri1
end for such other end f"urther reliet`ss this Ceurt
deems just, and proper

Dated; Bromc, blew Yorte
Me:rcl:t 15" , 2014

Yeurs, E're.

ALeBR're 'remr.es_. esQ,
629 Melrose Avenue
Bremt, Ne.w Yprk 10455
Tet Nu. ('113`) 620-010|5

Fax No. (718) 520@|97
TO: ERE'I'[ MlLEHMAN, ESQ.

Attemey for Plsintiff

KAVULICH & ASSOCIATES* P.C.
131 Wesrebester Avenue, Sttite SUUC.
Purt Chester, `New Yerk: 10573

Tel Ne. (_914} 355-2074

Page 181

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 72 of 109

CWIL COUR.T OE` THE CITY DF NEW YORK

 

 

CDUNTY OF BRONX X
m `FM"“" ' 2 oct t
2246 WEB STER AVENUE HDFC, Indes No. 43? 0
Plaiutifi`.,
wagainst_ AFFIRMATIDN IN
OP*POSITION AND
1
ELIZ.ABE'I`H ALBIZ.U ACEVEDO, DEFENDANT S CROSS
MDTIDN
Det`eadant(s).

 

sTATE ot= Naw rosa )
) ssi
croer or Baor~o-: 3

ALBER.’I`O TOR.RE.S, an attorney duly admitted to practice law before the Courts
of the State of New Yorlr, pursuant to CPLR § 2106, under penalties of perjury, affirms
as follows:

I. l am the attorney for ELIZABE'I'I-.l ALBIZU, Dcfendant in the above-

eaptioned matter and as such lain fully familiar with the facts and circumstances of this

case.

2. I respectfully submit this AEtinnation fn Opposil.ioa and Defendant‘s
Cross M.otion in response to Plaintift"s Motion for Judgrnent.

3, 'Iitat' Plaintift` has liled a motion for judgment against Defendant dated
Felrruar'_y 20, 2014, however, this application must be denied because:

(s) Plaintiff claims it collected $200.00 pursuant to the
Btjpulat`too dated .lanuary 3., 2012, however, Defendanr has

docmncntary proofs that a total of $500.00 was psid_ (53¢
E')rhibit I")

(b) Plsintif.'c` claims it collected $1,161.83 by execution by a
marshal, but failed to attach any evidentiary proof and
Defendant claims diet the total ganttshnrent is greater’ than
the alleged amount

{c) Tltc Stipulation dated Jarttlary '.'t., 2012 was entered into by
Defondant Pro-Se in reliance upon misrepresentations made

by Plaintiff to this eourt, which was subsequently
discovered upon receipt of a rent history ledger attached to

Page 182

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 73 of 109

, , ' 14 nuts
that Dei'endant can defend this case on the nients- (-5“~'€ IPMCC water gmc

- . t'f!i£.‘
Attanus £`.LC tt Mac,'!c'. 54509!12; tjth Cpart, Qussm C`.ntm!y
http:!www. newarklmq,ftmrnn!. comftj`aschci.sionNY.jsp?id== j 2 025 ?tl ?_! 354.‘3`)
9- t'tat open tennessee aaa better-g assailant vacated ms seamans Pt“d

all rents due and surrendered the security deposit to Plaintiti` in .lt.trl@ 2905» md moved
into an apartment with thc blew ‘t'orlc City Housiug Authority.

10. `l`hat the lease agreement expired on Aprt`l 30. 2006. and fidelide
became a montano-month tenant and had no contractual obligations to pay any rem m
Plainti[f after she physically vacated the aparnnent.

ll. 'ihat l?lai.rrtiff in her Afiidavit gives a detailed analysis of the rent ledgcr..
with the conclusion that as of Novcruber 2005, the alleged an'ears were only $1,233.98,
hcwevcr, ]i’laintiiilc sued her for over $4,500.00.

12. Thercfore, Dcfeudant requests that this court vacate the Stipulation dated
lanuary 3, 2012, and give Det'endant an oppornmi|.y to defend herself on the meritorious
defense t]:lal Defet:tda.nt did not owe Plairlt.ii°l` any rents subsequent to- vacating thc
aparunent.

1314 Titat Defenda.nt also request that this court order Platntiff` to reimburse
Defendaut the 3500.00 paid pursuant to the Stipulation, and Det`endant‘s wages garnished
by a city marshal pursuant to ajudgtne.at that was vacated by this court on March ll,
2013. (Sec Esthibit G)

WHEREFOR.E, it is respcotl"tdl§t requested that this Court deny P]aintifl”s

application for 3 judgment, and vacate the January 3, 2012 Btipulati.ou, and t”or such other

and further relief as this Court deems just, and propar,

Datcd: Bronx, Ne Yorlt
belatth , 2014

V"

A]..BERTO TORRES, F_SQ.

 

Page 183

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 74 of 109

CIV.IL COURT UF 'I`HE CITY OF N`EW `YORK.

 

COUNTY Gl'~‘ BB.OI\E{ X
2246 WEBSTER AVEI‘~TUE HDPC, Index No. 43'?20*2011
E‘laintiti',
again$c- AFFIUAVIT IN SUPPDRT
ELIZABE'I'H ALBIZU ACEVEDO,
Defendant(s).
L'{

 

STATE OF NEW YOR.K }
}ss.
COUNTY OF BR{JNX }

EL]ZABETH AL.BIZ.U, being duly sworn. deposes and says: .

1. l amthe i}efendaot in the above referenced mattet.

2. That in ot about January 2013, l discovered that my employer was
garrl.ishiug my wages for the matter herein and that Pia.intiff was able to get a judgment
against me for $6,029.53. {See Exhil:¢it A)

3_ ']_"hat when l reviewed the et:nny,:\la.intl my attorney advised me that the
lawsuit was for unpaid rents from lilly 2906 to November 2005, however, 1 had already
vacated and surrendered the apartment to the landlord iu luna 2006 (See Exhibit B]

4, 'I`hat l have a meritorious defense that l was unaware ot`whon f entered the
Stipoiatiott in that l had no ooatraetual obligations with the Plaintifl" herein who
misrepresented to me and in documents filed with this court diet they are entitled to rents
for July 2006 through November 2005 Wh€l't in feet {l] my lease expired on Apti] 3(],
2006, (See Exh.ibit C}, (2} I had paid rent through june 2006 and gave the landlord my
security deposit (See Exh.ibit D) and (3] moved into an apartment et the New Yorlt City
Housing Authority @JYCl-IA) in June 2005. [See E'xhibit E)

5_ 'Ihatl do not owe this alleged debt because l had no contractual agreement
obligations with T-'laintii°f alter April 30. 2006, and I signed a Stipuietion in reliance upon
misrepresentations by Piai.mift` that l was responsible for payments of rents until they
rented the apartment, and made the mistake of not challenging this allegation or talking to
an attomey, and request that the Stipnlation be vacated so that `l can defend this ease on

the merits.

 

Page 184

 

 

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 75 of 109

o. `[hat attached hereto as Exlrlhit D is a copy of a rent ledger for my
apartment from April 2006 to Noverrrber 2006 that Plsirttiff filed with this comm
r. that ass ledger indicates era ss sr soil 39» 2996» l 33‘**3““3' had a
balance cf 321.53, and in stay scott the balance was sszo.os, era far luna 2006 it was
tr,ots.ss. rees anuba op nat in lane 2005 t surrendered are apartment to the
landlord and moved into a New ‘t’orlc Cil`}' HDIJ$il-`lll dui-110th apamn¢m' (Seu Exhibit E}

3. '['hat although l surrendered the apartment in Jttnc 2096, lh€‘- landl¢l`d
continued to hill me for rents in July 2006 and August 2006.

9- `l"ltet the ledger shows that tire total due in August 2006 was allegedly
$2,033.04 and states that "‘FRANCO AV!S`ED ME TODAY AP“[`. AVAILABLE AS Dl`-'
AUGUST, 5, 2006." However, l surrendeer the apartment in lurie 2006, not August
2006. t
10. Tbat irr C}ctobcr 2006, the landlord credited $799.06, which l believe was
the security deposit1 leaving a balance of only $1,233.93, however, the landlord has sued
rne for $4,593.91 but never explained to rne how they calculated this number, and `I made
the mistake of believing what they told me in eourt.

11. That as l stated before, l vacated the apartment, paid my tent and ‘
surrendered rny security deposit to l’laintift` in lone 2005. and moved into an apartment
with NYCHA.

12. Therefore, l request that this court deny Plaintifl”s request for a judgment
and vacate the Stipulation dated Jaouary 3, 2012 in that I have a meritorious defense as
evidenced by the ledger that I had not seen until Pleintifi` fried it Wi'th this courts and give
me an opportunity to defend myself on the grounds that l did not owe Plaimi&' any mm
subsequent to my vacating the apartment

13. That Plaintr`&` now tells this court that they collected only $2[]0,0{]
pursuant to the Stipulation which is untrue, and in fact l had paid them $500.00 [_`Sr_:g
Exhib'rt F). In additioa. I believe that the money that was gal-lashed from my pavth
exceeds $1.161.83, and I request that this court require that Pialnti.H' provide written
proofs as to how touchwas aettrally collected

14. 'f'l'tat I would also request that this court order Plaintift` to reimme mc
3500.00 l paid pursuant to the Stipulation, and the money that has been garnished from
my paycheck by the Marsha|i., the stu:u of which is unknown

WHEREFDRE, it is respecthllly requested that this Court gram me relief
requested herein and for such other and further relief as this Court deemsjugi and proper

F'age 135

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 76 of 109

Dutod: Br~omt, New Yorlr

H Fv"lrcl 15a 2014

§ . 7 1
stiEé-n~r stated ` § '

Subscrihed and sworn to before me
en this 2$' day of Hi\.“t'¢~

. 2014
NU`I`ARY Mf_'['i_'“_---~.-. '.; ` i.; l . `
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Im.portant. Statement

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 78 of 109

oter ooua.'r oF THE CiTY ol= view YORI<; _ , _
CooN“I'Y oF emma INDL'»?‘» NO' 437?’0” l

_______________________________ H__x y=[LE NO. 13317
2246 WEBSTER AVENUE. l'.i.DI:C,

Plaintii"t" AFFI_DAVH:
IN SUPPOR l`
- against -
ELJ.IB.ABE,TH ALl`B lSYLU ACE.VEL`)Q
L`Jei`endant_

_______________________________________________________________ §§
S'i`i'-\'l`l`:`, OF NEW YOR l<l ]

) SS
COUNTY OF BI{ON.`>{ }

lt Janine Lo:sey. being daly aworn depoae$ and say.~;:

l_ l am the managing agent for the P'laintifi"1 2246 WEBS"[`ER .AVENI,FE.
l-I`DFC hereilt, and as each I am fuiiy familiar with the facts and circumstances of this
oroeeedingF

2. Tlie within proceeding was commenced against Defendant to recover

arrears in the amount of $31993.9]. due and owing from the Defendant lo Plaimiff_

3` Therea[ter, al a pre-trial conference of this matter on Janaary 3, '201?.. h\"

way of a So~f§)rciered Stipulation__ the parties hereto settled this matter in the sum of

$E,DDU.OU al the rate of$§{].{){} per month until that adm had been paid in full.

4, Aleo per the terms of that Stipulalion ol` S.etllementT Dei"endant agreed that

in the event she should default on that setllement` Plaintii"fwas; emit]@d m judgman in me

full amount of lf}et`endarlt’s arrears balance, $3.993.91, less aov amount paid Wi['h

interest thereon 't`t'om .luiy l . 2006.

Page 188

 

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 79 of 109

th _ -.t t c [1` l-`-'iaitllilqll
.5‘ Alst) tier that Slit:\tllation of Settlet'nent1 upon Def‘"n'dam 5 ddw

. t . , ' tn cure said
was to provide to Detendant with a notice of default and lU-day opportunity

default.

- - ' -' " - ' §§ .i.]ll
6. 'l.`hat pursuant tn the parties stipulattott. Pl€lll‘ll'll W|lecmd cl 00

7~ Dei`entlant`s claim that the Plaintit'l` received more than $500.130 as

payment per the stipulation is patentlyl False.

S. Titat l`_Jet“eud:mt defaulted on that stipulation on at least three occasionsl

9. Tht:t'eal"tct‘, upon L`Jet"ent|aut's failure to cure her default for the month ot`
.lul}t. lilllf’ai Plaintit`i suln"nitted. for and obtained judgment against ijefendant in
Septeml)er, 2012 in the amount ol' $6.{)29.53.

ill Thereal"ter1 Plaintifl' commenced execution measures and suocessfullj,l

collected 31,16!.33 toward the satisfaction of that judgment

1 l . Tltereat`ter, said judgment Was vacated on lviat'ch 19. 2013.
ll Therel”ot‘e, I)eiendant owes $2,632.{)3, plus costs Fees, disbursements and

interest from July l, 2006 to P|aintift` toward the satisfaction ot` the defaulted stirntlalionF
13. My attorneys have advised me that the Det`endant has filed an Orcier in
Show Cause which seeks to vacate the stipulation in this matter and restore this matter m

the trial cale.ndar.

Wi~`[E,R]:`.FORE, your deponent plays that the Court deny the instant motion as no

legal or equitable basis has been prtwide¢

" @£YZ/jéél?i;ty
ll/ l .lanine Lttisey /
l

IARA Jt GPEKFJLAK
biolth PUELiC-STATE OF NEW YOEK
Nt)t DiGR{i'l?B§'-Cldl
\t`.tunltlled lri Westeheater Count
nw Commtsrten Exptmx Fetaruorv o'.*. Q;l:l--

Sworn to before me this

\t§aty ata at 2014

   

F’age 189

 

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n

» -at'~-t i.

 

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 81 of 109

CWIL CDURT OF THE Cl"l“i’ C'F N'EW YOF.K

 

COUNT'Y' DF BRDNX
,_, ...... .t ................ t nasath ll
pad Webster A\'enl.te_ HI“JFC, F{DEX NU
Platntti`t`. F‘]LE NO_ ] 331?_0
-against-

SUMMGNS l l
Place of Venue is Platnttt'f‘s
place of businese:
Ehzabelh tallman Acwednl ' 2246 Wel)ster Aven ue
Brona. l\"‘t" 10457
Dof`endant{a)

 

-.._.--..-- -_- - X

To the above earned defendants[s):

YDU AR.E l-IEREBY SUMMOHED to appearat the CW[L COURT OF THE CIT‘{ OF
N'EW YC!RK. C(JUNTY O'F BRONX at the office of the clerk of the said Cottt't at 351 Grand
Coneotnse, E'rorot. NY 10451.. in the COUN'TY OF BRONX, Stato oi'Hew Yorlr. within the
time provided by law as noted below and to file an answer to the below complaint with _- .
eierlr: upon your failure to answer, judgment will be taken against gen for lite s_. - o '
with interest thereon from Jnly 1, 2005 together with costs of this aetton.

oarao; atty t.aott _E P A_m

  
  
    

w\_ ‘§_ 4 `lllil Kai'oheh B'-t Asaooiates, ‘P.C.
_,l` A.ttorney l`or l*iaintifi`
gm t_j~..- =J *`” 131 Westohostor :‘wertue
georgia t“.€Z>Ul`l'l"lar stan sane

P‘ot't Cltester, `,\i"i’ 10573

(914} 355-2074
`Dofendant's Addre§s:

Elizabeth Aiibizu Aeevedo
311 E. lti?th St.reet, A'pl. ZA
Brt'mx, `NY 10459-27"

Notc: The law provides that: (a) it' the summons is served by its delivery to you personally
within me guy ¢fNew York, glen most appear and answer within TW ENTY days after such
wwim; m {b} ]f the summons is served by any means other than personal delivery to you

within tlic Cit_y ol` blow Yorl<, you must appear and answer within ’I'HIRTY days after proof ny
service thereof is filed with the C|erlt of this C.`ourt.

F‘age 191

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 82 of 109

COM`PLAI l‘“¢"l`

F“IRST §Cfl`ml\l: Plainciil" seeks rs recover damages from detendant(_s) for breach otqaé(l):]tts¢

agreement in the sum oi' $3,95*3§3| representing rental arrears for the months of lttly. d
balance of S399.'¢'9; August, 2006 through end including Novernbcr, 2006 at the agree f N.Y
monthly sum oti_$ii'sl£.$} for the premises known as 224-ti Webster Avcnue, Apt.J=t Brom». -.r
1945-g together with costs and disburs¢mems mt this action and for such other and further rellc
as the court may deem just.

SECOND ACTION: Plaintit`t' seeks to recover damages t`rorn the defendant itt tile 5‘-"'" or
SoDll.DO representing damages together with costs end disbursements ot' tins action and for
such other and further relief as the Court may deem just-

Trmtn Acrtorr: esamn‘rsee\rs re recover sources from tim d¢f¢““‘""“ i“ "“’ “““ or -
$SOO.UD representing reasonable attorneys fees together with costs and disbursements ot`II'HS
action and t`or such other timber relief as the C“.ourr may d¢“ml““-

WHEREFORE, Plaintit`f demands judgment (A) on the First Aetion, in the sum ot" 53,993.91
plus interest t`rorn Jul;»,r l, 2005 together with costs and disbursements cr` this action and t`or
such other and further relief as the tjonrt may deem just. (B} on the Second Action_ rn the sum
of $\SOt].tJtl plus interest front lilly 1.2006 together with costs end disbursements oi" this
action and for such other and further relief as the Court ma'_t,f deem just1 tC} on the Tltird
Action. ir. the sum of 3500.00 together with costs and disbursements of this action and for
such other and further relief as the Court may deem just.

The Plaintifi" in this action is N{'JT required to be licensed by the New Yor'k City
Depamnent of Consntner At`t`airs.

image 192

 

EXHIBIT 4

Page 193

 

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 84 of 109

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civil cum sims city sr New ann WII|H||:J|||(|;HHW"[[H 1111§111111

Cnnnly of Brom;

 

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, nnswc:rs the Ccmplsim

 

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l __chnersl Deninl; ldeny the inlegsiions in tile cnmplninl
SERMLC.E
2 m_i did 1101 receive a copy of the summons and complaint
3 ml :cceivcd this Smnmnns and Cnrnplnim. but service was net correct ss requin by |B»W-
“_'nn££.nsss
4 mr do net owe this desi.
5 d_WI did nci incur l.his dch lam thc lvictim ci identity tich cr misls.kcn idenli\y.
s dm`""1 save pine an sr pan sims alleges sess
? “}@Cul dispme the mount cf me debi.
8 _'_H Pleintifi' is required tc lie licensed by the department cf ccnsinncr affairs cf L`ne City nl` Ncw `Yerlc and
does nci allege a license number in the Cnrnplninl.
9 WStntulc cf Lirnii.etinns ( Lhe lime has passed re sue en this debc: mere man six ycars}.
lO _ Thc debt has been dischargcd in bankruptcy

l l The collateral [prnpcny} was nci sold s1 s commercially reasonable pricc..
12 )l.`l'l Unjnsl enrichment {ihe amounl dcrnandcd. is excessive compach Wilh Ll'm c:-r'igilwi deb\..]

13 _“_Violstinn ofihe duty cf good iaith and fair dealing

iii WUnwnsciembility fmc contract is un lair.]

15 “H[..schcs (piainlil'i`hss excessively delayed in bringing this lawsuil w my disnelvanlngc_)

16 w Defcndnul is in the inilils.r)'.

l'i _ C'thcr:

: mann

18 Plesse take notice linn my only source n{` income is ,which is exempi from collect-3011
coMsRCLAJM

151 Gnunlercl:zim(s}:$ _________, F.=‘.asnn:

'I‘his case ix scheduled to n'ppenr nn the calendar ns follows:
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Page 194

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 86 of 109

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1.,._

 

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FsETTLEMENT

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ll' is herch stipulated and agreed by and between the names Th.st thc nhnvc-rcfcrcncecl

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 88 of 109

Kavu|ich &. Assucintcs, P.C.
181 Westchestcr Averluc‘.
Suitc SOUC`
l’ort Chestet', NY 10513
Phone: (914} 355-2074 Fa.t: (‘.llrl] 355-1073

April 9. 2012

Eliaabctlt Alibizu Accvcr.lo
811 E. lt'.i'?tl'. Stl'ct:t

Apt. EA

Brl:lttx, N`§’ 10459-27"?1

Rl:: Dcl`aultad Stipulati-:m
2245 Websl'cr Avl:t'lu€:. H[JFC
File Nt;\.: l§Sl ‘l’

Dl:ar Elizabeth Al'cbizu Acs-vel:|t::

Yclu arc in default ufyour payment under the stipulation signed by you F'lcasc be
advised that iftha default is not cured within 10 days of the date of this letter, my client
will pursue all remedies available to it under law,

I<'.indly forward all remittances to us, payable to the law firm ofl{avulich & Assc:ciatas,
P.C. at lB-l Westcltester Avc.. Sut`te SOUC, limit Chc:ster, NY 10573 Wilh your file
number mt said paymeltl. 'l`hank you t`l:>r your attention to this mattcr.

     

Gary Ka\‘tt il , Esq.

Tltis is an attempt tn collect a debt. Any information am

aimed will b
purposc. Tltis communication ls from a d c used fur mm

chi collcc.torl

Page 198

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 89 of 109

Hawlieh & Aseoelutee, F'.C.
131 Westchester Avenue
Sulue SU£(YZ 0573
Purt Cheeter, 1
Pl\ene eeo 355-zim iam onto 355-me

lime 12, 2012

Elizabeth A|ibi:§u Aeevedo
illl E` lG‘Jth Stre.et

Apt_ ZA

Btorut. NY 10459-2'?'31

Re: De|` united Stipulatiou
2246 Webster Avenue, HDPC
File No.: 13317 '

Doar Eliza!:)etli Alibizu hoevedo:

`Y`ou are in default of your payment under the stipulation signed by you. Fleuse be
advised that il` the default is not cured within 10 days of the date of this ]etter, my client
will pursue all remedies available to `it under lew.

K.indly forward all remittances to us, payable to the law firm of Knvulieh tie .A.ssociates.
"P_Ci at lBl Westchoster Ave., Euile SOUC, Port Chester, NY 105’}‘3 with your file
number on said payment 'I`]ian.lt you for your attention to this matter.

 

 

  
 
   

Vury Truly Y
ery l{av‘ulieh, E.sq.

This is an attempt m collect a deht. An;.' information obtained will be used for that
Purp¢$¢_ I`his communication is treat a debt coileetor.

F’age 199

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 90 of 109

Kavuiiei't dc Assot:.lnles, P.C.
181 Westchester P.venue
Sujte SGDC 573
Port C|tester, NY 10
l*lwr»¢= fatal sss»zot¢t iam otto sss~zeta

August 23, lill?.

Elizabetlt Alibizu Acevedt:t
Bii l`.`-.. ltS?th Street

Apt_ 1a

Brottx, NY 10459-27':'1

Re: Dei`auited Stipulalion
2246 We`bster Avenue. HDFC
File i\*o.: 13817

Deat' Eliaabeth Alibizu Acevedo:

You are in default of your payment under the stipulation signed by you. Please be
advised that if the default is not cured within 10 days of the date oi` this letter, my client
will pursue all remedies available to it under iew.

andly forward eli remittances to us, payable to the law linn oi`Kavulicli & Associatcs.
P.C. at list Westcheetet Ave., Suite SOGC, Port Chester, NY 10573 with your tile
number on said payment "i`hattlt you lot your attention to this matter.

 
   
 

Very Truly .

Tliis is an attempt to collect n debt. Any information obtained will be used for that
purpose Tliis communication is front a debt eoliectnr.

 

Paga zoo

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 92 of 109

Plainlltttsl:
2246 Weneter Aeonuo, HDFC

VS.

'E.`Ieisndan't{s}'.
Ellzabeth Alittizu Aeevodo

Brt.'tf`|>t County Cl\ril C'»Gul`l

L'livll Judgmenl

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.tudgment leslie
t}n Moiion oil

stulieh iii .¢\sso¢laitis F‘C
161 Wosiehosior Avenuo.
Chostor, N‘t' 10573»

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`i”he lo|lowing named pnrlios. addressed and identified ss creditors oolow:

Plainliff etsdiiotis} and address

11 } 224$ Webster Avenue. HDFC.‘
2245 Wobster Avenue. Elro ns. NY 10451'-

Shell recover of the intimaan portionsd addresses and identitin as debtors below:

 

Deiendant dant-ariel and address
[1] EIizatt-e!l't A|ii‘ilzu At:svndo

B‘l‘l E_ 16?1|1 StrBBl. Api. ZA. Bronx_ NY 10455|-

 

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initio total amount ot $5,029.$$ on 09!2?!2012 ot 12:15 PM.

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F’eno 1 of1

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-_ Case 1:16-cv-02134-ALC Document 86-58 _ .Ei|ed-.Q8-/18/ -. |_:_’-age-98 of 109

  

 

 

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 _Page 94 of 109

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Civil C.ourt of tire City of New `Yorit

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2246 W'ebe'cer A'Jenue, HDF“C ORD/ER TO EHDW {`,'AUSE
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E lizabeth .v__l ibi ao A¢¢~JE¢C, nom any mm and indem amounting involving the

defendant on this case and or to dismiss
API’EARANCE 13 MANDAT[}R\

torn to on Januai'll' 251 20 l 3\ and upon an papers and

 
   

UPDN the annex
proceedings herein:

inst the Claimam{s)!l’laintit]*{s) or Claimant(s]¢'l’laintiil”(s] attorney{s} show cause at:
C'n'il Court of the City of New York
851 Grnnd Concourse
.'Bt'on.x, NY 1045[
I’ttrt .'.'»-1C i{oom 304
an glin interest ft so aaa
or as soon thereafter as counsel may be beard, why an order should not be reader
VA.CAT!NG the ludgment, restoring to the calendnr, vacating any liens and income executions andr’ot dismissing
the action if warranted and!or granting such other and further reliet`as may bejesi,. y
l'ENDlNG the hearing ot` this Order to Sliew Ceuse and tire entry ef`en Order ihercon, let all proceedings on the
part of the Cleimontfs)il’leintif`i(s), Clairnantifs])'l’laintiii`(s} nttorney{s] and egont(s} end any Marshal or thrii"F oi`
the City ofNew "{otk for the enforcement ol` said ludgrnent be stayed
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on or before ' 5 " - " ' "'iWi\`-£Mi”slmil be deemed good and suit'rcient.

    
   

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PRCIOI'~` O'F SUCI-i EERVECE shall be iiied with tire Cler|~; in tire Pert indicated above entire return date ui`this Order to .‘:`.l‘.c.iw

Cnusc.

' * » ' - Sherififlviarshal‘
Aitorney(s}. Mati to. ,
Kavuiich &Assosiates ‘PC {Ceunsel for Plti`) N:f[? Marshal
lBl Westehester revenue BWEEL Sl-¢Ph¢rl. blmle
E'\.t.i.!t: EQUC lo? W 33 Siru.i:t
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Case 1:16-cv-02134-ALC Document 86-58

Civi| Couri ofthe City of New ‘{orlt, County of Bronx
2246 webster Avenue, HDEC

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Filed 08/18/17 Page 95 Of 109

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and income executions a l
on this case , onti)'or to dismiss

 

State of New Yorlt. Connry of Bron)t _F

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Bronx, NY' 10459 :

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Page 205

 

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Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 97 of 109

Civil Court of the City of New ang__m §£,§.7¢’516:’%// _»

 

 

 

 

 

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1 Page 207

Case 1:16-cv-02134-ALC Document86-58 Filed`O`§/IS/l? P`age 98 of 109

   

EXHIBIT 10

' Page 203

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 99 of 109

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CouN'rY OF BRONX; PART 30 U W¢"§§Mv:on 1

............................................................. x ]:|LE, NO. 13317
2246 WEBSTER AV.ENUE, HDFC,

Plaintil"t`, NOT}CE OF MC}"I`I .N
FUR.I DGME.NI

- against -
ELIZABE.TH ALIB`IZI.J ACEVE[)O.

Dc£`endam.
............................................................... }{

MOTION BY: I<.avuiich & Assnciates, P.C.
Atmme;.rs for Plaimil`f

DAT'E, 'I`IME AND PLACE

{)F HEARING: March l$, 2014
9:30 A.M.

Mcnion Tcrm: Part 30, Room 503
Civil Cour'a ofihc C`.ity nf`Ncw Yorl~i
Ccaunly of Bronx

851 Gz'and Ccm¢uurse

Br{m:<., NY 10451

SUPPORT[NG PAPERS: A.l‘f'lmmt_ion c)fGary M. {<Lavul.iclL Esq.\
dated February 20, 2014, affidavit nl`]zminc
chse.y, managing agent for the Pls:inli!"t`, and
upon all the papers and proceeding
heretofore had herein

F’age 209

 

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 100 of 109

REL!EF RHQUESTED:

Datecl: Purt Chester, `New Yerk

February 20, 2014

Albeno Tc:rres, Esq.
Atterney for the Dei`endant
629 Melmse Avenue
Bronx, N‘r’ 10455

To:

An Grdc:r [';;,r' 1 a rainsl th'=`»'
De'fendam in ::::::;?:ntgof$2,632.08, Plu$
eusts, fees, disbursement$ wci interest f`mm
Jl_l]y ], 20{]6, and fm igth other end further
relief as le this Cc\urt may deem juSl and
pmper.

‘t'ours Etc.._

   

 

Kavuliehqk" Assm:i'al , * .
By: Gary M.. K.zwulieh, Esq.

131 Westc:hester Ave., Sui!.e 500-fl
Port Chester, NY 105')‘3

(9!4) 355~2074

 

Page 210

 

° Document86-58 Filed 08/18/17 Page 101 of 109

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counts os saonse sain ss ' INDEX nn assent
`Fu,ano. 13317

 

2246 weesTl;-:a swi:-;NU'¢;;_";:{§{.~}}:_"`""""""`X
. . - ‘ 0
Plaintlff, M
- against -
ELIZABET.[-I AI,`[]'.'$[ZU ACEVEDO.
[Jeft‘.ntlanl.
...... _. _){

 

~ ‘ he
G\'il‘i‘ M. I<I.avuiioii, Esq,, an attorney duly admitted to praetiee law eegi:tr€(:f
Cout'ts of the State ot`New Yarit henel:»;ir aflinns the following under the Ii~‘-I i'

perjury.

- . . 1- i- s 1 forthe
1. i am a member et` the law finn et havulieii & Assoi.iates, t .C,.. attorneys
Plaintiffi herein. its sueli. l arn fully familiar with the faets and circumstances ef` the

within proceeding except as to those matters stated te be based upon mtormatic)n and

belief and as to those matters l believe them to be true ‘I'he basis of my beiiefis

infonnation furnished to me ny my eiient1 information contained within tlie Couit S Fiie,

and information contained within the tile as maintained by your at`['irniant`s ot`tiee.

?,. I make this affirmation in support af Plaintifi"’s application far a judgment against
Defenc|ant ELI$£ABETH Al.,IBiEU AC.`.EVEDC} pursuant ta Defentlant"s default upon a
signed stipulation dated lanuary 3, 2012_. and for such other and further reliefas ta this

t_',‘ 1111 may deem just and proper. Please see a copy of that stipulation annexed hereto as
Ci

Exhibit "i

Page 2“i1

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 102 of 109

BACKC}ROUNQ

 

3. Plaintiff commenced this action seeking to recover $5,093.91 on or about .iuly l Ll1-,
2011. thwarted hereto as Eahibit “2" is the affidavit of tJlaintiii”s managing agent1 .lanine
`Losey. Please see the summons and complaint annexed hereto as Exhihit “"."3

4. Dei'endant' interposed an answer on or about Noventher 21, 201 l. |’lease see
`Defendant’s answer annexed hereto as Ettliibit "~”i-.”

5. Thereafter, at a pre-trial conference of this matter on January 31 2012, by way ofa
So-Otdered Stipulation, the l’anies hereto settled this matter in the stan of$‘£.t]t]i).t}ti at
the rate of $50.00 per month until that sum had_heen paid in ful[. Please see
aforementioned Exhihit “ 1 ."

6. Further, upon Defendant's default, Plaintifi'Was to provide to Defentiant with a

notice of default and lD~day opportunity to cane said defaul|. I*lease see the
aforementioned Exhihit “l ."

‘F. Also per the terms of that Stipulation ofSettlenient, Del`eltclant agreed that in the
event she should default on that seltlernent, Plaintil`l"tvas entitled to judgment in the full
amount of Defendant`a arrears balanoe, $3,993.91, less any amount paid. with costs, lees,
disbursements and interest thereon from .luly I, 2006. Please see atorententioned lY-jxhih 11
h`1."" l"lease see the aforementioned Exhibit "2.“

3. Parsuant to the Parties` stipulation, Plainlil`feollected $200.[)0. Pl.ettse see the

aforementioned E,>thiljii “2."

9. However, Defendant defaulted on that stipulation on at least three occasiong_

Please see the aforementioned E:thihit “I".-”

Page 212

Case_.1:16-cV-02134-ALC Document86-58 Filed 08/18/17 Page 103 of 109

lo- Ptl.rauant to the tstit‘)tllatit‘at1 Plaintiff sent to Def€t'l<lant the reqUiSi'-¢ del‘aul[
“Qtice$~ PIEHSE ace those default notices annexed hereto as E>thihit "’5-"

l l. Thcreaftcr, llpon Defendant’s failure to cure her default for the month oi`luly.
201'.-1, Pla.intif.t` submitted for judgment against ile'fendant in SePi‘-"mber’ 2012`

il ]“ddm€ltt was entered on Scpternber 2?. 2012. Please see a copy Oi` Lh"~ii ludi§““im
annexed hereto as Exhihit “."ti

13. Thereafter, Piaintiff commenced execution measures and successfully colle¢lti'd
$1,161.83 tow.'.trd the satisfaction of thatjudginent Piease see aforementioned Eshihit
s2 _~1

14. Defendant then filed an Order to Show Cause seekingl to stay the execution
measures and restore this matter to the calendar. Ainte:ted hereto as E:thihit “*?” is a copy
of Defendant’s Ot'der to Show C.ause.

15,'1`hercafter, Defendant retained counsel and filed a supplemental a'ftinnation with
her Order to Show Cause. Anne>ted hereto as Exhihit “B" is a copy of said affirmationl

16. On Mat'clt il_., EGIB, the Court granted Defendant’s Ordcr to the extent that the
judgment and all execution measures were vata=tted1 but the Court did not vacate the
stipulation due to the fact that the aforementioned stipulation allowed the Plaintil`l` to tryf
for a motion of judgment upon the Defendant`s default Annexed hereto as Exhihit “9“ is
a copy of the Court’s decision

t?. Thereforer Defendant owes $2,632.08,1)1113 costs. fees_. disbursements and interest
from lilly l, 2006 to Plaintil"ftowat'd fl'lf¢ SttliSfHGliott ol`tl'te defaulted stipulation Please

tdi 115

see aforementioned Ex.hihit

Paga 213

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 104 of 109

_ ' t remains due
tith As Defenda_ut has breach the terms of the stipulation and as thlS rich

t’s default
and OWil\g 10 Plaintiff`, Plaintiff now moves forjudgmen[ pursuant to D¢F¢lld&“

upon the stipulation

WHEF~EFQRE, your affirmant respectfully requests that the instant motion be €»F

all respects and for such other and further relief as to t
proper.

 

Dated: Poi‘t Chester, blew `t'orlt
`February 20, 2014

 

Clary l\¢./l<.avulicl*f'{!l§'§t;.

F’age 214

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 105 of 109

Cl\’ll_. COURT GE` 'l`l-lE CITY OF NEW YORK

counts ott attott>t: enter so m DBX NO_ simon l
------------------------------------------------------------ §§ F]LE NO. 1351?
tate Wees'tea avenue nom
lummus anntuatuwt
QE;HHL!B;L

- against -
ELlZABETl-l ALlBlZ.U ACEVEDO,

Dcl`endantt
______________________________________________________________ x

Gary M. Kavuiich, lisqt, an attorney duly admitted to practice law before the
Courts of the State oi`New Yorlt hereby ai`l"irnts the t"ollow'ing under the penalt)t Ol

pet'j ut'y.

On l\darclt 3_, 2014 l served the within i‘-lotice of Motion and Mot`ton upon
Alberto 'I`orres, Esq., the Attorney t`or the De£endant in this action, by depositing a true
copyl in a post-paid envelope addressed to:

Alberto 'l`on“es. Esq.
629 Mclrose revenue
Bronx, l"~l‘i’ l0455

  
 
 
 
 

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fiar)t.llvli Kavuiic%lis€f.

Page- 215

Case 1:16-cv-02134-ALC Document 86-58

Filed 08/18/17 Page 106 Of 109
lNDE}{ NO: 43?20/||

CW{L- COURT OF THE CITY Oli` Nl.`~_`,W `YGRK
CDUNTY OF BR.ON`X: PAR"[` 30

 

 

 

 

_.HW“*
2246 WEBSTER AVENUE_. HDFC,

Plainti.i`l`,

» against -

ELIZABETH ALIBIZU AC-EVEDO,

Defeudtutt_

M.OTION FOR JUDGMENT

Signature Rule 130-l . l ~a
Print blame Beneatlt Gar)/lvl. Kavulich, Esq.

 

l<tavulicli de Associates, P.C.
rl'tttorrie§r for P`laintii`f

181 Westchester Ave., Suite SOUC
Port Chester, NY 10573
(sttnsss-so'r»t

Page 216

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 107 of 109

CWIL COURT OF 'l`l-lE Cl'l"Y NEW YORK INDFX N-O' 437§_,1_(),1] l
§§Es:§'_§§§_esrt_st?_i? .................... t warsaw

2246 WEBSTER AVENUE HDE"C.,

l’laintii`i`,
l -a a`nst*
g l AFFIRMATION OF
§EZRVIC.E

ELIZABE'I`l-l ALBIZU ACEVE[JO,
Defendant.
_______________________________________________________________ X

Bre'tt M. Milchtnan, `ESQ., an attorney duly admitted to practice law before the
C`.ourts of the State ot`t~lew Yoi'l; hereby alliuns the i`ollowing under the penalty ol"
perjury

Dn April 21, 2014 l served the within l served the within Notice oi` Motion and
Motion upon Albetto 'l`orres._, Esq., the Attorney t`or the lit-efendant in this action. by
depositing a true eop},f ina post-paid envelope addressed to:

Alberto Torres, Esq.
629 Melrose Avenue
Bron)-:, l‘~l`t’ i0455

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Page 217

Case 1:16-cv-02134-ALC Document 86-58 Filed 08/18/17 Page 108 of 109

lNDEX NO: 43720!ll

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2246 WEBSTER AVENUE l'lDFC..

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- against -

ELIZABETI~I ALI?,IZU ACEVEDO,
Dct`endant.

 

REPLY TO DEFENDANT’S OP`PGSI.T|.ON TO PLA`lN'l`IFF"S MOTION FOR
JUDGMENT AN`D PLATNTIFF’S OPl-"OS'I`lON T{) DEFENDANT"S CROSS-

MOTION FOR VACATUR OF S'l`ll’l.ll..A'i"lON CJF SETTLE`MENT

 

Signature R.ule ].30~l.l-a

 

 

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Kavulicb. & Associates, P.C.
Attorneys i`or the Plaintil"l`

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